         Case 3:23-cv-00201-WHO              Document 238    Filed 10/31/24   Page 1 of 88



 1   Joseph R. Saveri (State Bar No. 130064)
     Cadio Zirpoli (State Bar No. 179108)
 2   Christopher K.L. Young (State Bar No. 318371)
 3   Elissa A. Buchanan (State Bar No. 249996)
     David Lerch (State Bar No. 229411)
 4   Evan Creutz (State Bar No. 349728)
     JOSEPH SAVERI LAW FIRM, LLP
 5   601 California Street, Suite 1505
 6   San Francisco, California 94108
     Telephone: (415) 500-6800
 7   Facsimile:     (415) 395-9940
     Email:         jsaveri@saverilawﬁrm.com
 8                  czirpoli@saverilawﬁrm.com
                    cyoung@saverilawﬁrm.com
 9
                    eabuchanan@saverilawﬁrm.com
10                  dlerch@saverilawﬁrm.com
                    ecreutz@saverilawﬁrm.com
11
     Counsel for Individual and Representative
12
     Plaintiﬀs and the Proposed Class
13
     [Additional Counsel Listed on Signature Page]
14
                                   UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION

17   Sarah Andersen, an individual; Kelly McKernan, an      Case No. 3:23-cv-00201-WHO
     individual; Karla Ortiz, an individual;
18   H. Southworth pka Hawke Southworth, an                 SECOND AMENDED COMPLAINT

19   individual; Grzegorz Rutkowski, an individual;         CLASS ACTION
     Gregory Manchess, an individual; Gerald Brom, an
20   individual; Jingna Zhang, an individual; Julia Kaye,   DEMAND FOR JURY TRIAL
     an individual; Adam Ellis, an individual;
21

22               Individual and Representative Plaintiﬀs,

23          v.

24   Stability AI Ltd., a UK corporation;
25   Stability AI, Inc., a Delaware corporation;
     DeviantArt, Inc., a Delaware corporation;
26   Midjourney, Inc., a Delaware corporation;
     Runway AI, Inc., a Delaware corporation;
27                                         Defendants.
28


      Case No. 3:23-cv-00201-WHO
                                          SECOND AMENDED COMPLAINT
            Case 3:23-cv-00201-WHO                         Document 238                   Filed 10/31/24                 Page 2 of 88



 1                                                         TABLE OF CONTENTS
                                                                                                                                                   Page(s)
 2

 3   I.       AI IMAGE PRODUCTS ARE TRAINED ON VAST NUMBERS OF COPYRIGHTED
              IMAGES WITHOUT CONSENT, CREDIT, OR COMPENSATION AND VIOLATE
 4            THE RIGHTS OF MILLIONS OF ARTISTS ....................................................................... 1
 5   II.      JURISDICTION AND VENUE ............................................................................................. 4

 6   III.     PLAINTIFFS........................................................................................................................... 5
 7
     IV.      DEFENDANTS ...................................................................................................................... 6
 8
     V.       AGENTS AND CO-CONSPIRATORS ................................................................................. 7
 9

10   VI.      CLASS ALLEGATIONS......................................................................................................... 8

11            A.      CLASS DEFINITIONS ............................................................................................................. 8

12
              B.      NUMEROSITY.......................................................................................................................... 9
13
              C.      TYPICALITY ............................................................................................................................. 9
14

15            D.      COMMONALITY & PREDOMINANCE .............................................................................. 10

16            E.      ADEQUACY ............................................................................................................................ 10

17
              F.      OTHER CLASS CONSIDERATIONS .................................................................................... 11
18
     VII.     ARTISTS AND THEIR WORKS ..........................................................................................11
19

20   VIII.    THE SOURCE OF THE TRAINING DATASETS: LAION .............................................. 13

21   IX.      HOW AI IMAGE PRODUCTS WORK: CLIP-GUIDED DIFFUSION ............................. 20
22
     X.       PROTECTED EXPRESSION FROM TRAINING IMAGES IS COPIED,
23            COMPRESSED, STORED, AND INTERPOLATED BY DIFFUSION MODELS .......... 27

24   XI.      EXAMPLES OF TEXT PROMPTS USING PLAINTIFF NAMES IN AI IMAGE
              PRODUCTS OFFERED BY STABILITY, RUNWAY, AND MIDJOURNEY ................... 35
25
     XII.     EXAMPLES OF IMAGE PROMPTS USING PLAINTIFF IMAGES IN AI IMAGE
26            PRODUCTS OFFERED BY STABILITY, RUNWAY, AND MIDJOURNEY ................... 41
     XIII.    USER AND LICENSEE ACTIVITY ................................................................................... 49
27

28


      Case No. 3:23-cv-00201-WHO                                                  i
                                                      SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO                 Document 238              Filed 10/31/24           Page 3 of 88



 1   XIV.    DEFINITIONS FOR THE CAUSES OF ACTION ............................................................ 51

 2
     XV.     CAUSES OF ACTION AGAINST STABILITY ................................................................. 51
 3
     XVI.    CAUSES OF ACTION AGAINST MIDJOURNEY ............................................................ 59
 4
     XVII. CAUSES OF ACTION AGAINST RUNWAY ..................................................................... 72
 5

 6   XVIII. CAUSES OF ACTION AGAINST DEVIANTART ............................................................ 77

 7
     XIX.    JURY TRIAL DEMANDED ................................................................................................. 84
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                                     ii
                                               SECOND AMENDED COMPLAINT
         Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 4 of 88



 1          Artists and Plaintiﬀs Sarah Andersen, Kelly McKernan, Karla Ortiz, Hawke Southworth,

 2   Grzegorz Rutkowski, Gregory Manchess, Gerald Brom, Jingna Zhang, Julia Kaye, and Adam Ellis

 3   (“Plaintiﬀs”), on behalf of themselves and all others similarly situated, bring this class action

 4   complaint against defendants Runway AI, Inc. (“Runway”); Stability AI Ltd. and Stability AI, Inc.

 5   (collectively “Stability”); Midjourney, Inc. (“Midjourney”); and DeviantArt, Inc. (“DeviantArt”)

 6   (all collectively “Defendants”). Plaintiﬀs allege various violations of the Copyright Act (17 U.S.C. §

 7   501); Digital Millennium Copyright Act (17 U.S.C. §§ 1202(a) & (b)) as to all Defendants; and

 8   violations of the Lanham Act (15 U.S.C. § 1125(a)(1)) as to Defendant Midjourney

 9   I. AI IMAGE PRODUCTS ARE TRAINED ON VAST NUMBERS OF COPYRIGHTED
      IMAGES WITHOUT CONSENT, CREDIT, OR COMPENSATION AND VIOLATE THE
10                      RIGHTS OF MILLIONS OF ARTISTS
11          1.      An AI image product is a software product designed to output images through so-
12   called artiﬁcial intelligence techniques. But “artiﬁcial intelligence” is a misnomer. The AI image
13   products at issue in this complaint are all built around the same asset: human intelligence and
14   creative expression, in the form of billions of artworks copied from the internet. An AI image
15   product simply divorces these artworks from the artists and attaches a new price tag. The proﬁts
16   from the misappropriation of these works can then ﬂow directly into Defendants’ pockets. But the
17   artists who provided the intelligence and creativity—including Plaintiﬀs—were not asked for their
18   consent. They were not given any credit. And they have not received one cent in compensation.
19          2.      Under the hood, AI image products are powered by one or more machine-learning
20   models (or simply models). Models are not programmed directly in the manner of traditional software,
21   but rather trained. Training a model ﬁrst requires amassing a huge corpus of data, called a dataset.
22   The models at issue in this complaint were trained on datasets containing billions of images paired
23   with descriptive captions. In this complaint, each image–caption pair is called a training image.
24   During training of the model, the training images in the dataset are directly copied in full and then
25   completely ingested by the model, meaning that protected expression from every training image
26   enters the model. As it copies and ingests billions of training images, the model progressively
27   develops the ability to generate outputs that mimic the protected expression copied from the dataset.
28


      Case No. 3:23-cv-00201-WHO                          1
                                        SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24      Page 5 of 88



 1   The outputs of a model are derived entirely and exclusively from what it has extracted from the

 2   dataset.

 3             3.     Users elicit images from AI image products through prompting. Early versions of AI

 4   image products only accepted text prompts—that is, short textual descriptions of an image. But

 5   Defendants have progressively evolved their AI image products to also accept images as prompts to

 6   allow users to describe their desired result more easily and precisely. Whether based on text, image,

 7   or a combination, a prompt is converted into a numerical descriptor called a CLIP embedding. This

 8   CLIP embedding is then used to guide the AI image product to generate an image resembling

 9   whatever is described by the prompt.

10             4.     Defendants Runway and Stability have collaborated on the training and deployment

11   of a series of models called Stable Diﬀusion. In September 2022, Stability CEO Emad Mostaque

12   described it thus: “Stable Diﬀusion is the model itself. It’s a collaboration that we did with a whole

13   bunch of people … We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle

14   that can recreate any of those [images] and iterations of those.” 1 To train multiple versions of Stable
15   Diﬀusion, Runway and Stability have each downloaded copies of billions of copyrighted images

16   without permission—including those belonging to Plaintiﬀs. Runway and Stability induce others to

17   download Stable Diﬀusion by distributing it for free through public websites. Runway and Stability

18   also make Stable Diﬀusion available to end users by building it into AI image products that they

19   market and sell. In August 2022, Mostaque wrote “Ironically [the] main funding of stability except

20   me is … artists” (ellipsis in original) followed by “Lol” (internet slang for “laughing out loud”). 2
21             5.     Defendant Midjourney has trained multiple models of its own and deployed them

22   commercially as part of its AI image product. Midjourney has downloaded copies of billions of

23   copyrighted images without permission to train its models—including those belonging to Plaintiﬀs.

24

25

26
     1
27     Narratives Podcast, Sept 2022 (https://narrativespodcast.com/2022/09/19/112-emad-mostaque-
     ai-alignment-and-stable-diﬀusion/)
28   2
       https://discord.com/channels/729741769192767510/730095596861521970/1008530914525061190


         Case No. 3:23-cv-00201-WHO                       2
                                        SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24      Page 6 of 88



 1   It has also copied the Stable Diﬀusion model and deployed it commercially as part of its AI image

 2   product. It sells subscription access to its AI image product.

 3             6.     Defendant DeviantArt has copied the Stable Diﬀusion 1.4 model and deployed it

 4   commercially as part of a subscription-based AI image product. This model was also trained on

 5   billions of training images, many of which were harvested from the artist portfolios hosted on

 6   DeviantArt’s own website—including certain Plaintiﬀs.

 7             7.     Though the Defendants claim to be selling access to AI image products, what they’re

 8   really selling is copyright infringement as a service. The scale of this misappropriation is staggering

 9   and unprecedented, with violations of law happening at every phase: the gathering and copying of

10   the dataset, the training and deployment of the model, and the output images.

11             8.     Worst of all, the Defendants hold out their AI image products as being able to create

12   substantially similar substitutes for the very works they were

13   trained on—either speciﬁc training images, or images that

14   imitate the trade dress of particular artists—including

15   Plaintiﬀs. This is already damaging the market for Plaintiﬀs’

16   artwork and labor, and the art market more broadly.

17   Midjourney, for instance, has repeatedly promoted the use of

18   artist names—including Plaintiﬀs’ names—within text

19   prompts as a means of getting better results. Runway,

20   Stability, and Midjourney also encourage the use of images—

21   including images made by Plaintiﬀs—as a means of

22   prompting their AI image products. Recently, Plaintiﬀ Kelly

23   McKernan was astonished to ﬁnd that the top internet search

24   result for their name is now an AI-generated image made with Midjourney, prompted with Mx.

25   McKernan’s name.3 Without intervention, this is the grim future that awaits many other artists.
26

27

28   3
         https://thaeyne.com/2022/12/11/image-in-the-style-of-kelly-mckernan-1/


         Case No. 3:23-cv-00201-WHO                        3
                                         SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO           Document 238         Filed 10/31/24      Page 7 of 88



 1             9.     Though Defendants like to describe their AI image products in lofty terms, the reality

 2   is grubbier and nastier: AI image products are primarily valued as copyright-laundering devices,

 3   promising customers the beneﬁts of art without the costs of artists.

 4             10.    Plaintiﬀs seek to end this unprecedented violation of their legal rights before their

 5   jobs, their professions, and their creative communities are demolished by Defendants.

 6                                    II. JURISDICTION AND VENUE

 7             11.    This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case

 8   arises under the Copyright Act (17 U.S.C. § 501) and the Digital Millennium Copyright Act (17

 9   U.S.C. § 1202).4
10             12.    Jurisdiction and venue are proper in this judicial District under 27 U.S.C.

11   § 1391(c)(2) because Defendant Midjourney is headquartered in this District, and thus, a substantial

12   part of the events giving rise to Plaintiﬀs’ claims occurred in this District. Each Defendant has

13   transacted business, maintained substantial contacts, or committed overt acts in furtherance of the

14   illegal scheme and conspiracy throughout the United States, including in this District. Defendants’

15   conduct has had the intended and foreseeable eﬀect of causing injury to persons residing in, located

16   in, or doing business throughout the United States, including in this District.

17             13.    Under Civil Local Rule 3.2(c) and (e), assignment of this case to the San Francisco

18   Division is proper because Defendant Midjourney is headquartered in San Francisco, and thus, a

19   substantial part of the events giving rise to Plaintiﬀs’ claims and the interstate trade and commerce

20   involved and aﬀected by Defendants’ illegal conduct occurred in this Division.

21

22
     4
       In the order on the motion to dismiss, the Court stated that “plaintiﬀs may ﬁle a Second Amended
23   Complaint including the new plaintiﬀs [previously included in the First Amended Complaint] and
24   may attempt to plead unjust enrichment claims against any defendant based on theories (if any) that
     are not preempted by the Copyright Act” (ECF 223 p.7 n. 6). In addition, as to the DMCA claims
25   which were included in the First Amended Complaint, the Ninth Circuit does not require that a
     party replead claims to preserve them on appeal. See Lacey v. Maricopa Cnty., 693 F.3d 896, 928 (9th
26   Cir. 2012) (en banc) (“For claims dismissed with prejudice and without leave to amend, we will not
27   require that they be repled in a subsequent amended complaint to preserve them for appeal.”). In
     addition, the facts as alleged in this Second Amended Complaint are current as of the ﬁling of the
28   First Amended Complaint.


         Case No. 3:23-cv-00201-WHO                        4
                                         SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 8 of 88



 1                                          III. PLAINTIFFS

 2             14.    Sarah Andersen lives in Oregon and owns the copyrights in training images shown

 3   under her name in Exhibit A (showing Plaintiﬀ images in LAION-5B) and Exhibit B (showing

 4   Plaintiﬀ images in LAION-400M). Ms. Andersen’s copyright registrations for these works are

 5   included in Exhibit C, which contains copies of Plaintiﬀs’ copyright registrations.

 6             15.    Kelly McKernan lives in Tennessee and owns the copyrights in training images

 7   shown under their name in Exhibit A. Mx. McKernan is a member of DeviantArt under the name

 8   ‘kellymckernan’, which is found in the text caption of some of their works.

 9             16.    Karla Ortiz lives in California and owns the copyrights in training images shown

10   under her name in Exhibit A. Ms. Ortiz’s copyright registrations for certain works are included in

11   Exhibit C.5
12             17.    H. Southworth PKA Hawke Southworth lives in Oregon and owns the copyrights in

13   training images shown under his name in Exhibit A. Mr. Southworth is a member of DeviantArt

14   under the name ‘Hauket’, which is found in the text captions of some of his works.

15             18.    Grzegorz Rutkowski lives in Poland and owns the copyrights in training images

16   shown under his name in Exhibit A. Mr. Rutkowski is a member of DeviantArt under the name

17   ‘88grzes’, which is found in the text captions of some of his works.

18             19.    Gregory Manchess lives in Kentucky and owns the copyrights in training images

19   shown under his name in Exhibit A. Mr. Manchess’s copyright registrations for these works are

20   included in Exhibit C.

21             20.    Gerald Brom lives in Georgia and owns the copyrights in training images shown

22   under his name in Exhibit A. Mr. Brom’s copyright registrations for these works are included in

23   Exhibit C.

24             21.    Jingna Zhang lives in the State of Washington and owns the copyrights in training

25   images shown under her name in Exhibit A and Exhibit B. Ms. Zhang’s copyright registrations for

26

27   5
      Ms. Ortiz registered these copyrights after the initial complaint in this action was ﬁled. She does
28   not seek to assert copyright infringement claims against Stability, Midjourney, or DeviantArt.


         Case No. 3:23-cv-00201-WHO                       5
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238         Filed 10/31/24       Page 9 of 88



 1   these works are included in Exhibit C. Ms. Zhang is a member of DeviantArt under the name

 2   ‘Zemotion’, which is found in the text captions of some of her works.

 3          22.     Julia Kaye lives in California and owns the copyrights in training images shown under

 4   her name in Exhibit A. Ms. Kaye’s copyright registrations for these works are included in Exhibit

 5   C.

 6          23.     Adam Ellis lives in the state of New York and owns the copyrights in training images

 7   shown under his name in Exhibit A. Mr. Ellis’s copyright registrations for certain works are

 8   included in Exhibit C.

 9          24.     The images shown in Exhibit A and Exhibit B are oﬀered as a representative sample

10   of works by Plaintiﬀs that appear in the LAION datasets, not an exhaustive or complete list.

11   Plaintiﬀs conﬁrmed that these particular images were in the LAION-5B and LAION-400M datasets

12   respectively by searching for their own names on two websites that allow searching of the LAION

13   datasets: https://haveibeentrained.com and https://rom1504.github.io/clip-retrieval/. On

14   information and belief, all of Plaintiﬀs’ works that were registered as part of the collections in

15   Exhibit C and were online and were scraped into one or both of these datasets.

16          25.     The registrations shown in Exhibit C are only a partial list of registered copyrights

17   owned by Plaintiﬀs.

18          26.     Given the size of the LAION datasets and the search methodology of

19   https://haveibeentrained.com and https://rom1504.github.io/clip-retrieval/, it is possible that there

20   are more examples of Plaintiﬀs’ works that have yet to be identiﬁed. It is also possible that a

21   particular Plaintiﬀ’s work may be included in both datasets even if their works have so far only been

22   identiﬁed in one.

23                                        IV. DEFENDANTS

24          27.     Defendant Stability AI Ltd. is a UK corporation with its principal place of business at

25   88 Notting Hill Gate, London, England, W11 3HP. Stability was founded in 2020 by Mohammad

26   Emad Mostaque, a former hedge-fund manager. Mostaque is currently the Chief Executive Oﬃcer

27   of Stability AI. Stability AI also employs Robin Rombach, formerly a member of the CompVis

28


      Case No. 3:23-cv-00201-WHO                           6
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238        Filed 10/31/24      Page 10 of 88



 1   research group at Ludwig Maximilian University in Munich, where he was a principal developer of

 2   the technology underlying Stable Diﬀusion.

 3           28.      Defendant Stability AI, Inc. is a Delaware corporation with its principal place of

 4   business at 88 Notting Hill Gate, London, England, W11 3HP. Stability AI Ltd. is a wholly owned

 5   subsidiary of Stability AI, Inc.

 6           29.      Defendant Midjourney, Inc. is a Delaware corporation with its principal place of

 7   business at 333 Harrison Street, Apt. 605, San Francisco CA 94105. Midjourney was founded in San

 8   Francisco in August 2021 by David Holz, who also serves as CEO.

 9           30.      Defendant DeviantArt, Inc. is a Delaware corporation with its principal place of

10   business at 100 Gansevoort Street, New York NY 10014. DeviantArt was founded in 2000 by Angelo

11   Sotira, Scott Jarkoﬀ, and Matthew Stephens. In 2017, Wix.com, Inc. acquired DeviantArt. Wix

12   acquired all of DeviantArt’s corporate stock for $36 million. In April 2022, Moti Levy became CEO

13   of DeviantArt.

14           31.      Defendant Runway AI, Inc. is a Delaware corporation with its principal place of

15   business at 79 Walker Street, Floor 5, New York NY 10013. Runway was founded in New York in

16   2018 by Anastasis Germanidis, Alejandro Matamala-Ortiz and Cristóbal Valenzuela. Valenzuela is

17   currently the CEO of Runway. Runway also employs Patrick Esser, formerly a member of the

18   CompVis research group at Ludwig Maximilian University in Munich, where he was a principal

19   developer of the technology underlying Stable Diﬀusion.

20                             V. AGENTS AND CO-CONSPIRATORS

21           32.      The unlawful acts alleged against the Defendants in this class-action complaint were

22   authorized, ordered, or performed by the Defendants’ respective oﬃcers, agents, employees,

23   representatives, or shareholders while actively engaged in the management, direction, or control of

24   the Defendants’ businesses or aﬀairs. The Defendants’ agents operated under the explicit and

25   apparent authority of their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents

26   operated as a single uniﬁed entity.

27           33.      Various persons or ﬁrms not named as Defendants may have participated as co-

28


      Case No. 3:23-cv-00201-WHO                           7
                                           SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238        Filed 10/31/24       Page 11 of 88



 1   conspirators in the violations alleged herein and may have performed acts and made statements in

 2   furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants

 3   with respect to the acts, violations, and common course of conduct alleged herein.

 4                                   VI. CLASS ALLEGATIONS

 5          A.      Class Deﬁnitions

 6          34.     The “Class Period” as deﬁned in this Complaint begins on at least January 13, 2020

 7   and runs through the present. Because Plaintiﬀs do not yet know when the unlawful conduct alleged

 8   herein began, but believe, on information and belief, that the conduct likely began earlier than the

 9   date listed above, Plaintiﬀs reserve the right to amend the Class Period to comport with the facts and

10   evidence uncovered during further investigation or through discovery.

11          35.     Plaintiﬀs bring this action for damages and injunctive relief on behalf of themselves

12   and all others similarly situated as a class action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of

13   the Federal Rules of Civil Procedure, on behalf of the following Classes:

14   “Injunctive Relief Class” under Rule 23(b)(2):

15                  All persons or entities nationalized or domiciled in the United States
                    that own a copyright interest in any work that was used to train any
16                  version of an AI image product that was oﬀered directly or incorporated
                    into another product by one or more Defendants during the Class
17                  Period.

18   “Damages Class” under Rule 23(b)(3):

19                  All persons or entities nationalized or domiciled in the United States
                    that own a copyright interest in any work that was used to train any
20                  version of an AI image product that was oﬀered directly or incorporated
                    into another product by one or more Defendants during the Class
21                  Period.

22   “LAION-5B Damages Subclass” Under Rule 23(b)(3)

23                  All persons or entities nationalized or domiciled in the United States
                    that own a registered copyright in any work in the LAION-5B dataset
24                  that was used to train any version of an AI image product that was
                    oﬀered directly or incorporated into another product by one or more
25                  Defendants during the Class Period.

26   “LAION-400M Damages Subclass” Under Rule 23(b)(3)

27                  All persons or entities nationalized or domiciled in the United States
                    that own a registered copyright in any work in the LAION-400M
28                  dataset that was used to train any version of an AI image product that


      Case No. 3:23-cv-00201-WHO                          8
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 12 of 88



 1                  was oﬀered directly or incorporated into another product by one or
                    more Defendants during the Class Period.
 2

 3   “Midjourney Named Artist Class” under Rule 23(b)(3):

 4                  All persons or entities who appear on the Midjourney Names List and
                    whose names were invoked within prompts of the Midjourney Image
 5                  Product during the Class Period.

 6   These “Class Definitions” specifically exclude the following person or entities:

 7                  a.      Any of the Defendants named herein;

 8                  b.      Any of the Defendants’ co-conspirators;

 9                  c.      Any of Defendants’ parent companies, subsidiaries, and aﬃliates;

10                  d.      Any of Defendants’ oﬃcers, directors, management, employees, subsidiaries,

11                          aﬃliates, or agents;

12                  e.      All governmental entities; and

13                  f.      The judges and chambers staﬀ in this case, as well as any members of their

14                          immediate families.

15          B.      Numerosity

16          36.     Plaintiﬀs do not know the exact number of Class members, because such information

17   is in the exclusive control of Defendants. Plaintiﬀs are informed and believe that there are at least

18   thousands of Class members geographically dispersed throughout the United States such that

19   joinder of all Class members in the prosecution of this action is impracticable.

20          C.      Typicality

21          37.     Plaintiﬀs’ claims are typical of the claims of their fellow Class members because

22   Plaintiﬀs’ claims arise out of the same course of conduct from which their injuries result. Plaintiﬀs

23   and all Class members own copyrights in the Works. Plaintiﬀs and the Class created or owned Works

24   that were published on the internet by themselves or others. The Works were used to train various

25   AI Image Products without permission. Plaintiﬀs and absent Class members were damaged by this

26   and other wrongful conduct of Defendants as alleged herein. Damages and the other relief sought

27   herein are common to all members of the Class.

28


      Case No. 3:23-cv-00201-WHO                          9
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 13 of 88



 1          D.      Commonality & Predominance

 2          38.     Numerous questions of law or fact common to the entire Class arise from

 3   Defendants’ conduct—including, but not limited to those identiﬁed below.

 4          39.     Direct Copyright Infringement: Whether Defendants violated the copyrights of

 5   Plaintiﬀs and the Class when they downloaded and stored copies of the Works; Whether Defendants

 6   violated the copyrights of Plaintiﬀs and the Class when they used copies of the Works to train AI

 7   Image Products.

 8          40.     Vicarious Copyright Infringement: Whether Defendants violated the copyrights of

 9   Plaintiﬀs and the Class when they distributed their AI Image Products in order to induce, materially

10   contribute, or otherwise encourage users and licensees of their AI Image Products to directly

11   infringe Plaintiﬀs and Class members’ works.

12          41.     DMCA Violations: Whether Defendants violated the rights of Plaintiﬀs and the

13   Class by falsely attributing CMI to the models, and also making copies of Plaintiﬀs and Class

14   members’ Works with CMI removed or altered.

15          42.     Lanham Act Violations: Whether Defendants misappropriated Plaintiﬀs and Class

16   members’ trade dress and distinctive look and feel in violation of the Lanham Act.

17          43.     Anticipated Defenses: Whether any aﬃrmative defense excuses Defendants’

18   conduct, including whether some or all of Defendants’ conduct is allowed under fair use.

19          44.     These and other questions of law and fact are common to the Class and predominate

20   over any questions aﬀecting the Class members individually.

21          E.      Adequacy

22          45.     Plaintiﬀs will fairly and adequately represent the interests of the Class because they

23   have experienced the same harms as the Class and have no conﬂicts with any other members of the

24   Class. Furthermore, Plaintiﬀs have retained sophisticated and competent counsel (“Class Counsel”)

25   who are experienced in prosecuting federal and state class actions throughout the United States and

26   other complex litigation and have extensive experience advising clients and litigating intellectual

27   property, competition, contract, and privacy matters.

28


      Case No. 3:23-cv-00201-WHO                         10
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238         Filed 10/31/24      Page 14 of 88



 1          F.      Other Class Considerations

 2          46.     Defendants have acted on grounds generally applicable to the Class, thereby making

 3   ﬁnal injunctive relief appropriate with respect to the Class as a whole.

 4          47.     This class action is superior to alternatives, if any, for the fair and eﬃcient

 5   adjudication of this controversy. Prosecuting the claims pleaded herein as a class action will

 6   eliminate the possibility of repetitive litigation. There will be no material diﬃculty in the

 7   management of this action as a class action.

 8          48.     The prosecution of separate actions by individual Class members would create the

 9   risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

10   Defendants.

11                              VII. ARTISTS AND THEIR WORKS

12          49.     Plaintiﬀs are artists who have created recognized and inﬂuential contemporary

13   artwork.

14          50.     Creating successful artwork that is recognized and appreciated, let alone for an artist

15   to become ﬁnancially successful, requires immense dedication, energy, and creativity. An artist may

16   become well-known for a variety of reasons. But at the core, each artist is known for the value of

17   their particular expression. As such, it is important for artists to protect their works from being

18   copied or used without their permission.

19          51.     Copyright law protects artists’ works from infringement by creating exclusive rights

20   of artists to make copies of their works, to make derivative works of their copyrighted works, and to

21   distribute such copies and derivative works, which protects the interests of artists and preserves the

22   incentives for humans to produce art. As recognized by no higher source than the United States

23   Constitution itself, copyright law is intended to “promote the Progress of Science and useful Arts.”

24   By oﬀering artists protection, they can be rewarded for their eﬀorts. In accordance with copyright

25   law, many artists, including certain Plaintiﬀs, register copyrights in their works.

26          52.     Artists also protect their works in other ways. One of the most common ways is to

27   aﬃx a distinctive mark, watermark, signature, website URL or other identifying mark to their work.

28


      Case No. 3:23-cv-00201-WHO                          11
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24     Page 15 of 88



 1   These marks ensure that artists receive credit and recognition for the artwork they have created and

 2   serves as a means to manage the use of their work.

 3          53.     A few examples of Plaintiﬀs’ distinctive marks are below:

 4                  Ex. A at p. 5 (Plaintiﬀ Brom’s signature—lower right corner):

 5

 6                  Ex. A at p. 13 (Plaintiﬀ Brom’s personal website URL—lower left corner):

 7

 8                  Ex. A at p. 62 (Plaintiﬀ Zhang’s personal website URL—lower-right corner):

 9

10                  Ex. A at p. 79 (Plaintiﬀ Ortiz’s signature—lower-right corner):

11

12                  Ex. A at p. 86 (Plaintiﬀ McKernan’s mark—lower right corner):

13

14                  Ex. A at p. 103 (Plaintiﬀ Andersen’s signature—lower right corner):

15

16

17          54.     Artists and their livelihoods are facing a new threat, however. AI image products have

18   begun to proliferate. As described more fully herein, these machine-learning models are trained on

19   billions of artworks, many of which are protected either by being registered under the copyright

20   laws, or otherwise designated as protected by, for example, bearing an artist’s distinctive mark.

21          55.     Machine-learning models depend on massive quantities of high-quality data that is

22   digitally copied without authorization to train the model. The quality of the dataset a model is

23   trained on determines the quality of the model itself. The models within AI image products are no

24   diﬀerent. As a result, the images these models are trained on have an enormous impact on the

25   quality of the models and the outputs they can produce. There are many images that are in the

26   public domain, i.e., images that are not subject to copyright. The developers of many AI image

27   products, however, made the decision to greatly expand the datasets their models are trained on by

28


      Case No. 3:23-cv-00201-WHO                          12
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238         Filed 10/31/24       Page 16 of 88



 1   including billions of protected works. They made this choice because many desirable works are not

 2   in the public domain, i.e., are not subject to unfettered use by anyone without consent, credit, or

 3   compensation.

 4           56.     These AI image products compete with the artists whose very works comprise the

 5   raw material for the models within the AI image products. Rather than pay or commission an artist

 6   to create a particular work, pay an artist for a print or copy of a particular work, or pay for the artist’s

 7   permission to use the work, now users and licensees of these AI image products merely have to

 8   prompt the AI image product using terms—such as an artist’s name, or titles of their works—to

 9   generate an image indistinguishable from one the artist might’ve created themselves. Worse, certain

10   users of AI image products have at times abused this “feature” to harass and annoy the artists

11   themselves by making knockoﬀ versions of their artwork and publicizing it.

12                 VIII. THE SOURCE OF THE TRAINING DATASETS: LAION

13           57.     LAION (acronym for “Large-Scale Artiﬁcial Intelligence Open Network”) is an

14   organization based in Hamburg, Germany. According to its website, LAION is led by Christoph

15   Schuhmann. LAION’s stated goal is “to make large-scale machine learning models, datasets and

16   related code available to the general public.” All of LAION’s projects are made available for free.

17   Other members of LAION’s current team include Stability engineers Robin Rombach and Katherine

18   Crowson, and Google engineer Romain Beaumont.

19           58.     LAION’s most well-known projects are the datasets of training images it has released

20   for training machine-learning models, which are now widely used in the AI industry.

21           59.     In August 2021, LAION released LAION-400M, a dataset of 400 million training

22   images assembled from images accessible on the public internet. At the time, LAION-400M was the

23   largest freely available dataset of its kind. LAION distributes the LAION-400M dataset to the public

24   through its own website and elsewhere. Information about LAION-400M is available in an

25   accompanying paper by Schuhmann, Beaumont, and others titled “LAION-400M: Open Dataset of

26   CLIP-Filtered 400 Million Image-Text Pairs,” released in November 2021 (hereafter, the “LAION-

27

28


      Case No. 3:23-cv-00201-WHO                           13
                                         SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO         Document 238       Filed 10/31/24      Page 17 of 88



 1   400M Paper”).6
 2             60.    When one downloads the LAION-400M dataset, one gets a list of metadata records,

 3   one for each training image. Each record includes the URL of the image, the image caption, the

 4   similarity of the caption and image (as measured by the proximity of their respective CLIP

 5   embeddings), a NSFW ﬂag (indicating whether the CLIP embedding of the image suggests that it

 6   contains so-called “not safe for work” content), and the width and height of the image.

 7             61.    The actual images referenced in the LAION-400M dataset records are not included

 8   with the dataset. Anyone who wishes to use LAION-400M for training their own machine-learning

 9   model must ﬁrst acquire copies of the actual images from their URLs. To facilitate the copying of

10   these images, LAION provides a software tool called `img2dataset` 7 that takes the metadata records
11   as input and makes copies of the referenced images from the URLs in each metadata record, thereby

12   creating local copies.

13             62.    Training a model with the LAION-400M dataset cannot begin without ﬁrst using

14   ‘img2dataset’ or another similar tool to download the images in the dataset. Thus, every person or

15   entity that has trained a model on LAION-400M has necessarily made one or more copies of images

16   belonging to Plaintiﬀs as shown in Exhibit B (Plaintiﬀ images in LAION-400M), either by using

17   ‘img2dataset’ or another tool. These Plaintiﬀs never authorized any of these LAION dataset users

18   to copy their images or use them for training any models.

19             63.    One of the entities that has made unauthorized copies of the LAION-400M training

20   images is LAION itself. According to the LAION-400M Paper, LAION made the dataset by starting

21   with Common Crawl metadata records. Common Crawl is a corpus of 250 billion web pages copied

22   from the public web, including assets like Plaintiﬀs’ images (https://commoncrawl.org/). The

23   metadata records contain web URLs. According to the LAION-400M Paper, LAION created

24   training images by ﬁrst “pars[ing] through [the metadata records] from Common Crawl and

25   pars[ing] out all HTML IMG tags containing an alt-text attribute [that is, a text caption].” Then,

26

27   6
         https://arxiv.org/abs/2111.02114
28   7
         https://github.com/rom1504/img2dataset


         Case No. 3:23-cv-00201-WHO                     14
                                       SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO           Document 238     Filed 10/31/24      Page 18 of 88



 1   LAION “download[ed] the raw images from the parsed URLs”. See LAION-400M Paper at 3. To

 2   ensure that the training images in the dataset had reasonably accurate captions, LAION used a CLIP

 3   model to calculate the CLIP embeddings for the image and text of each image–text pair. These two

 4   CLIP embeddings were compared to measure how well the text described the image. Image–text

 5   pairs with low CLIP-similarity scores were omitted from the dataset.

 6             64.    Sometime after the release of LAION-400M in August 2021, Stability funded

 7   LAION’s creation of a similar dataset, but much larger. In March 2022, Stability CEO Mostaque

 8   called himself “the biggest backer of LAION.”8 In August 2022, Stability CEO Mostaque said, “I
 9   funded LAION, underlying dataset for … stable diﬀusion.” 9 (After the initial complaint in this
10   action was ﬁled, Mostaque changed his story, saying “We actually have/had no inﬂuence on

11   CompVis or LAION, did not funded [sic] either.”10)
12             65.    In October 2022, LAION released LAION-5B, a dataset of 5.85 billion training

13   images—more than 14 times bigger than LAION-400M. Information about LAION-5B is available

14   in an accompanying paper called “LAION-5B: An open large-scale dataset for training next

15   generation image-text models,” by Schuhmann, Beaumont, Crowson, and others (hereafter, the

16   “LAION-5B Paper”).11 According to the LAION-5B Paper, LAION-400M is a subset of LAION-
17   5B, meaning every image in LAION-400M is also in LAION-5B.

18             66.    Much like the LAION-400M dataset, when one downloads the LAION-5B dataset,

19   one gets a list of metadata records, one for each training image. Each record includes the URL of the

20   image, the image caption, the similarity of the caption and image (as measured by their respective

21   CLIP embeddings), the width and height of the image, and other metadata ﬁelds. Each record also

22   includes a watermark detection score, which indicates the likelihood an image possesses a distinctive

23   mark of a copyright holder, e.g., the artist.

24

25
     8
26     https://discord.com/channels/662267976984297473/938713143759216720/954674533942591510
     9
       https://twitter.com/EMostaque/status/1559332564787240962
27   10
        https://twitter.com/EMostaque/status/1629516125150011394
28   11
        https://arxiv.org/abs/2210.08402


         Case No. 3:23-cv-00201-WHO                     15
                                         SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238       Filed 10/31/24     Page 19 of 88



 1            67.    Just like the LAION-400M dataset, the actual images referenced in the LAION-5B

 2   dataset records are not included with the dataset. Anyone who wishes to use LAION-5B for training

 3   their own machine-learning model must ﬁrst acquire copies of the actual images from their URLs.

 4   To facilitate the copying of these images, LAION provides a software tool called ‘img2dataset’ 12
 5   that takes the metadata records as input and makes copies of the referenced images from the URLs

 6   in each record, thereby creating local copies.

 7            68.    Training a model with the LAION-5B dataset cannot begin without ﬁrst using

 8   ‘img2dataset’ or another similar tool to download the images in the dataset. Thus, every person or

 9   entity that has trained a model on LAION-5B has necessarily made one or more copies of images

10   belonging to Plaintiﬀs as shown in the Exhibit A (Plaintiﬀ images in LAION-5B), either by using

11   ‘img2dataset’ or another tool. These Plaintiﬀs never authorized any of these LAION dataset users

12   to copy their images or use them for training any models.

13            69.    One of the entities that has made unauthorized copies of the LAION-5B training

14   images is LAION itself. According to the LAION-5B Paper, the LAION-5B dataset was built in

15   much the same way as the LAION-400M dataset. First, image–text pairs were assembled by starting

16   with “Common Crawl’s … metadata ﬁles,” extracting URLs of images with captions, and

17   “download[ing] the raw images from the parsed URLs.” See LAION-5B Paper at 5. LAION then

18   used a CLIP model to test the CLIP similarity of the image and text, omitting pairs with low

19   similarity.

20            70.    The authors of the LAION-5B Paper also included a boldface warning:

21                   [W]e strongly recommend that LAION-5B should only be used for
                     academic research purposes in its current form. We advise against any
22                   applications in deployed systems without carefully investigating
                     behavior and possible biases of models trained on LAION-5B.
23

24            71.    Despite this warning that LAION-5B “should only be used for academic research

25   purposes,” all the Defendants—Runway, Stability, Midjourney, and DeviantArt—have trained,

26

27

28   12
          https://github.com/rom1504/img2dataset


      Case No. 3:23-cv-00201-WHO                        16
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24       Page 20 of 88



 1   distributed, promoted, or deployed commercial systems that rely on LAION-5B, directly in

 2   contravention of this warning.

 3            72.     Though LAION-400M and LAION-5B are often used to train diﬀusion models, they

 4   are used to train other models as well. For instance, Stability sponsored LAION’s creation of

 5   OpenCLIP, a CLIP model trained on a subset of images from LAION-5B called LAION-2B

 6   consisting of training images with English-language captions. 13 On information and belief, because
 7   all the Plaintiﬀ images in Exhibit A (Plaintiﬀ images in LAION-5B) have English-language captions,

 8   they are also part of LAION-2B and were thus used to train OpenCLIP. To create OpenCLIP,

 9   LAION necessarily had to create one or more copies of these images. Plaintiﬀs never gave their

10   permission to LAION to copy their images or use them to train OpenCLIP.

11            73.     It is possible to search whether a speciﬁc image is included in the LAION dataset

12   through the use of the websites https://haveibeentrained.com and https://rom1504.github.io/clip-

13   retrieval/. These websites use CLIP embeddings to search the LAION datasets to discover whether

14   particular images are included. Based on the size of the datasets, however, and the search

15   methodologies, exact or exhaustive results are not guaranteed for every example of a particular

16   artist’s work.

17            74.     Below is an image hosted on plaintiﬀ Karla Ortiz’s website:

18

19

20

21

22

23

24

25

26

27

28   13
          https://huggingface.co/laion/CLIP-ViT-H-14-laion2B-s32B-b79K


      Case No. 3:23-cv-00201-WHO                         17
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO           Document 238         Filed 10/31/24      Page 21 of 88



 1          75.     A search of the LAION dataset for this image by Ms. Ortiz on

 2   https://rom1504.github.io/clip-retrieval/ may generate the below results:

 3

 4

 5

 6

 7

 8

 9

10

11

12          76.     The caption shown for the ﬁrst image in the search results of the LAION dataset is
13   exactly the same as the caption shown on Plaintiﬀ Ortiz’s website: “Serf and Greyhounds / 8.5 x 10
14   Graphite / Moleskin Show II, Spoke Art Gallery, 2012”.
15          77.     Further, inspection of the metadata given by https://rom1504.github.io/clip-
16   retrieval/ indicates that the image was scraped from the following URL: https://images.squarespace-
17   cdn.com/content/v1/510a0982e4b08fd84ce45a43/1359614369317-
18   Q1QXIFKXQCVCO4I62D06/ke17ZwdGBToddI8pDm48kNFwqbaKfT7OPsXFUnn0nBkUqsxRU
19   qqbr1mOJYKfIPR7LoDQ9mXPOjoJoqy81S2I8N_N4V1vUb5AoIIIbLZhVYxCRW4BPu10St3TBA
20   UQYVKczZ8BZeDbXUHhGUs_1S_OvE6uym2C-
21   ge4vqvF4L8FpMvaIRyuEhmGLRxo5gMFxPRT/drawing_serfandhound.jpg, which indicates the
22   source of the image was Ms. Ortiz’s own website. In other words, the metadata indicates that this
23   image was scraped from Ms. Ortiz’s personal website for inclusion into the LAION datasets.
24          78.     In this way, the captions included in the training images also function as copyright-
25   management information. Much as a music publisher may search on a streaming platform for
26   unlawful uses of their work in order to conduct a DMCA strike, artists utilize keywords (for
27   example, their name) as search terms on https://haveibeentrained.com to identify whether their
28


      Case No. 3:23-cv-00201-WHO                        18
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24       Page 22 of 88



 1   works have been scraped and used as training material for AI image products.

 2           79.    The developers of AI image products know the datasets upon which their models are

 3   trained contain copyrighted material. As admitted by Midjourney engineer Jack Gallagher on

 4   Midjourney’s Discord server, Midjourney knew that attribution was a diﬃcult issue:

 5

 6

 7

 8

 9

10

11

12

13

14           80.    Stability CEO Emad Mostaque has publicly acknowledged the importance of using

15   licensed training images, saying that future versions of Stable Diﬀusion would be based on “fully

16   licensed” training images.14 But so far, Stability has taken no steps to negotiate suitable licenses.
17   Neither has Runway. Neither has Midjourney. They all just use LAION datasets—with no consent,

18   no credit, and no compensation to the artists.

19           81.    In July 2023, the topic of AI training reached the U.S. Senate.15 During a hearing
20   convened by a subcommittee of the Senate Judiciary Committee, Sen. Mazie Hirono quizzed Ben

21   Brooks, a representative from Stability, about Stability’s position on licensing training data. Sen.

22   Hirono asked directly, “So basically you don’t pay for the data that you put into your—to train your

23   models?” Mr. Brooks replied, “There is no arrangement in place.” Sen. Hirono then turned to

24

25

26
     14
27      @EMostaque, Twitter (Dec. 15, 2022, 8:03 AM),
     https://twitter.com/EMostaque/status/1603390169192833027.
28   15
        https://youtu.be/uoCJun7gkbA?t=3578


      Case No. 3:23-cv-00201-WHO                          19
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 23 of 88



 1   Plaintiﬀ Karla Ortiz, who was testifying on the same panel. “So you have Ms. Ortiz, who says that

 2   that is wrong. Is that correct, Ms. Ortiz?” Ms. Ortiz replied, “A hundred percent, Senator.”

 3          IX. HOW AI IMAGE PRODUCTS WORK: CLIP-GUIDED DIFFUSION

 4           82.    CLIP-guided diﬀusion is a technique that uses two machine-learning models in

 5   cooperation. The ﬁrst is called a diﬀusion model, which generates the image over a sequence of steps.

 6   The second is called a CLIP model, which converts the user prompt into a form that can be used to

 7   nudge the diﬀusion model closer to a suitable result at each step in the generation process.

 8           83.    Stable Diﬀusion is a model that generates images using CLIP-guided diﬀusion.

 9   Therefore, AI image products based on Stable Diﬀusion—including those oﬀered by Runway,

10   Stability, and DeviantArt—rely on CLIP-guided diﬀusion as well. In June 2022, a Midjourney

11   developer conﬁrmed on their public message board that “we use clip guided diﬀusion” too. 16 Thus,
12   the description below applies to all the AI image products at issue in this complaint.

13           84.    In 2015, the diﬀusion technique for training a machine-learning model was proposed

14   by a team of researchers led by Jascha Sohl-Dickstein at Stanford University and introduced in their

15   paper “Deep Unsupervised Learning Using Nonequilibrium Thermodynamics.” 17 Though the

16   technique can be applied to any kind of data, the description below uses digital images as an

17   example.

18           85.    Diﬀusion proceeds in two phases. To begin the training phase, initial copies are made

19   of many training images. For each training image, progressively more noise is added over a series of

20   steps. At each step, the model records how the addition of noise changes the image. By the last step,

21   the image has been “diﬀused” into essentially random noise. A simpliﬁed version of this process is

22   shown in the diagram below:18
23

24

25

26   16
        https://discord.com/channels/662267976984297473/938713143759216720/982136076888068156
     17
27      https://arxiv.org/abs/1503.03585
     18
        Noising & denoising illustrations from https://stable-diﬀusion-art.com/how-stable-diﬀusion-
28   work/#How_training_is_done


      Case No. 3:23-cv-00201-WHO                         20
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238        Filed 10/31/24       Page 24 of 88



 1          86.

 2

 3

 4

 5

 6

 7

 8

 9

10          87.     The diagram also illustrates that many intermediate copies of a training image are

11   necessarily made during the training process, with increasing amounts of noise added.

12          88.     After the diﬀusion model is trained, it can perform the second phase of diﬀusion,

13   which is like the ﬁrst but reversed. Having recorded the process of turning a certain image into noise

14   over many steps, the model can then run the sequence backwards. Starting with a patch of random

15   noise, the model applies the steps in reverse order. As it progressively removes noise (or “denoises”)

16   the data, the model is eventually able to reveal that image, as illustrated below:

17          89.

18

19

20

21

22

23

24          90.     In sum, diﬀusion is a way for a machine-learning model to calculate how to

25   reconstruct a copy of its training images. For each training image, a diﬀusion model ﬁnds the

26   sequence of denoising steps to reconstruct that speciﬁc image. Then it stores this sequence of steps.

27   In practice, this training would be repeated for many images—likely millions or billions. A diﬀusion

28


      Case No. 3:23-cv-00201-WHO                          21
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 25 of 88



 1   model is then able to reconstruct copies of each training image based on this denoising process.

 2   Furthermore, being able to reconstruct copies of the training images is not an incidental side eﬀect.

 3   The primary objective of a diﬀusion model is to reconstruct copies of its training images with

 4   maximum accuracy and ﬁdelity. Or, in the words of prominent machine-learning researcher Nicholas

 5   Carlini, who has studied the behavior of diﬀusion models: “diﬀusion models are explicitly trained to

 6   reconstruct the training set.”19
 7           91.      In December 2020, the diﬀusion technique was improved by a team of researchers at

 8   UC Berkeley led by Jonathan Ho. These ideas were introduced in their paper “Denoising Diﬀusion

 9   Probabilistic Models.”20
10           92.      Ho showed how diﬀused images could be interpolated—meaning, blended

11   mathematically—to produce new derivative images. Rather than combine two images pixel by

12   pixel—which gives unappealing results—Ho showed how protected expression from training images

13   can be stored in the diﬀusion model and then interpolated to generate another image.

14           93.      The diagram below, taken from Ho’s paper, shows how this process works, and

15   demonstrates the diﬀerence in results between interpolating via pixels and interpolating via diﬀusion

16   and denoising.

17

18

19

20

21

22

23

24

25

26
     19
27      “Extracting Training Data from Diﬀusion Models,” p. 12, available at
     https://arxiv.org/abs/2301.13188
28   20
        Available from https://arxiv.org/abs/2006.11239


      Case No. 3:23-cv-00201-WHO                        22
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238      Filed 10/31/24     Page 26 of 88



 1          94.

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14          95.     In the diagram, two photos are being blended: the photo on the left labeled “Source

15   x0,” and the photo on the right labeled “Source x'0.”

16          96.     The image in the red frame has been interpolated pixel by pixel and is thus labeled

17   “pixel-space interpolation.” This pixel-space interpolation simply looks like two translucent face

18   images stacked on top of each other, not a single convincing face.

19          97.     The image in the green frame, labeled “denoised interpolation,” has been generated

20   diﬀerently. In that case, the two source images have been converted into diﬀused images (illustrated

21   by the crooked black arrows pointing upward toward the label “Diﬀused source”). Once these

22   diﬀused images have been interpolated (represented by the green dotted line), the newly interpolated

23   diﬀused image (represented by the smaller green dot) has been denoised into pixels (a process

24   represented by the crooked green arrow pointing downward to a larger green dot). This process

25   yields the image in the green frame.

26          98.     Compared to the pixel-space interpolation, the diﬀerence is apparent: the denoised

27   interpolation looks like a single convincing human face, not an overlay of two faces. An enlarged

28


      Case No. 3:23-cv-00201-WHO                        23
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO             Document 238     Filed 10/31/24      Page 27 of 88



 1   detail of the two interpolated images is shown below:

 2            99.

 3

 4

 5

 6

 7

 8

 9

10            100.   Despite the diﬀerence in results, these two modes of interpolation are similar in that
11   they both blend protected expression from the source images but using diﬀerent techniques.
12            101.   In April 2022, the diﬀusion technique was further improved by a team of researchers
13   led by Robin Rombach at Ludwig Maximilian University of Munich. These ideas were introduced in
14   his paper “High-Resolution Image Synthesis with Latent Diﬀusion Models.” 21 (Rombach is
15   currently employed by Stability as a developer of Stable Diﬀusion.)
16            102.   Rombach’s diﬀusion technique oﬀered one key improvement over previous eﬀorts.
17   Rombach devised a way to supplement the denoising process with extra information, a technique
18   called conditioning. One common tool for conditioning is a prompt, which is text or image provided by
19   a user that might describe elements of the image, e.g.— “a dog wearing a baseball cap while eating
20   ice cream.” As the denoising process proceeds, the conditioning data is used to nudge the denoising
21   process closer to the desired result.
22            103.   Though in principle, conditioning data can come from a variety of sources, in the AI
23   image products at issue in this complaint, the conditioning data is provided by a CLIP model.
24            104.   In 2021, researchers from OpenAI introduced the idea of a CLIP model in a paper
25   called “Learning Transferable Visual Models From Natural Language Supervision.” 22 A CLIP
26

27   21
          https://arxiv.org/abs/2112.10752
28   22
          https://arxiv.org/abs/2103.00020


      Case No. 3:23-cv-00201-WHO                         24
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 28 of 88



 1   model quantiﬁes the semantic correlation between images and captions.

 2          105.     “CLIP” stands for “contrastive language–image pretraining.” This connotes the idea

 3   that during training, a CLIP model learns to correlate images and captions by ingesting protected

 4   expression from training images along with their text captions. Whereas a diﬀusion model learns to

 5   generate actual images, the CLIP model learns to correlate images and captions. An image is

 6   meaningless to a CLIP model without its accompanying text caption. These images and their text

 7   captions are colloquially known as an “image-text pair” or “text-image pair” (or in this complaint, a

 8   training image).

 9          106.     These captions are often generated by the artists themselves. For example, when an

10   artist uploads an image to their personal website, they may include a caption that describes the

11   image and also identiﬁes themselves as a way of managing the image’s use. Examples of training

12   images showing both image and caption are included in Exhibit A (Plaintiﬀ images in LAION-5B)

13   and Exhibit B (Plaintiﬀ images in LAION-400M) attached hereto.

14          107.     Like a diﬀusion model, a CLIP model is trained by copying and ingesting a huge

15   number of training images—on the scale of hundreds of millions or billions. Though a diﬀusion

16   model cooperates with a CLIP model in CLIP-guided diﬀusion, the two models are trained

17   separately. They may be trained on the same training dataset. But this is not required.

18          108.     For instance, by copying and ingesting a diverse set of images of dogs that have

19   “dog” in the caption, the CLIP model will learn to correlate the word “dog” more strongly with

20   images containing what humans perceive as dogs, and less with images of other things. The success

21   of CLIP training depends on the training images having accurate captions. If all images of dogs are

22   labeled “cat,” then the CLIP model will make incorrect correlations. The CLIP model has no visual

23   or other knowledge of the world that allows it to make these correlations. It is entirely dependent on

24   the captions.

25          109.     Consistent with this behavior, a CLIP model that is exposed to training images with a

26   certain artist’s name in the caption—say, Plaintiﬀ Grzegorz Rutkowski—will learn to associate the

27   work of Mr. Rutkowski with the caption “Grzegorz Rutkowski.”

28


      Case No. 3:23-cv-00201-WHO                         25
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238       Filed 10/31/24      Page 29 of 88



 1          110.       The CLIP model is able to do this by converting both images and text captions into a

 2   common intermediate format called a CLIP embedding. The embedding is a list of numbers

 3   representing a point in a geometric space. To use an analogy, a CLIP embedding is like an x–y

 4   coordinate in the two-dimensional plane, but with many more dimensions. To ﬁnd out how well a

 5   particular image matches a particular caption, one converts both into their respective CLIP

 6   embeddings and measures the proximity of the CLIP embeddings within this geometric space.

 7   When the CLIP embeddings are closer together, it means there is a stronger semantic correlation

 8   between the image and the caption. In general, there is no human-intelligible meaning of the

 9   numbers in a CLIP embedding. They are only intelligible to the CLIP model.

10          111.       In an AI image product, the role of a CLIP model is to guide the diﬀusion model

11   toward the user’s intended result. For example, if a user includes the word “dog” in the text

12   prompt, ﬁrst the CLIP model converts the prompt into a CLIP embedding. Then, as the diﬀusion

13   model iteratively denoises the image, the CLIP embedding is used as conditioning data, nudging the

14   image-denoising process toward a more dog-like result. Similarly, if a user includes the name of

15   Plaintiﬀ “Grzegorz Rutkowski” in the text prompt, then as the diﬀusion model iteratively denoises

16   the image, the CLIP embedding for the phrase “Grzegorz Rutkowski” nudges the image-denoising

17   process toward a more Rutkowski-like result.

18          112.       Certain words and phrases have stronger correlations within CLIP models. For

19   example, artist names are particularly inﬂuential when included in a prompt. Indeed, users of AI

20   image products quite often use an artist’s name to get a particular result. Defendants actively

21   promote such use.

22          113.       As mentioned at the beginning of this section, this combination of a CLIP model and

23   diﬀusion model is called CLIP-guided diﬀusion and is used by all the AI image products at issue in

24   this complaint.

25          114.       Because a CLIP embedding can be generated from either text or an image, an AI

26   image product that relies on CLIP-guided diﬀusion can be prompted with either text or image, since

27   either can be converted into a CLIP embedding. Image prompts, however, tend to produce more

28


      Case No. 3:23-cv-00201-WHO                          26
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 30 of 88



 1   precise and descriptive CLIP embeddings. Thus, image prompting has become an increasingly

 2   prominent feature in AI image products, because it allows ﬁner control of the prompting process.

 3          115.    To recap, an AI image product that works based on CLIP-guided diﬀusion contains

 4   two models that cooperate: a CLIP model and a diﬀusion model. Initially, the CLIP model is trained

 5   on a dataset of training images and learns to relate the semantic meaning of images and associated

 6   text through an intermediate format called a CLIP embedding. The diﬀusion model is also trained on

 7   a dataset of training images and learns how to take a patch of noise and “denoise” it to reveal an

 8   image. These trained models are deployed as part of the AI image product. When a user submits a

 9   prompt to the AI image product—either text, image, or a combination—the CLIP model converts

10   this prompt to an embedding. The embedding is then used as conditioning data as the diﬀusion

11   model progressively generates the image through denoising. The image that emerges at the end of

12   the denoising process is presented to the user as the output.

13          X. PROTECTED EXPRESSION FROM TRAINING IMAGES IS COPIED,
            COMPRESSED, STORED, AND INTERPOLATED BY DIFFUSION MODELS
14

15          116.    As mentioned above, training a diﬀusion model requires vast numbers of training

16   images—often billions. When the training process is complete, a diﬀusion model is then able to

17   reconstruct copies of each training image. Furthermore, being able to reconstruct copies of the

18   training images is not an incidental side eﬀect. The primary objective of a diﬀusion model is to

19   reconstruct copies of its training images with maximum accuracy and ﬁdelity.

20          117.    Consistent with this, a machine-learning model—including a diﬀusion model—can

21   be conceptualized as an evolution of the database. As described by François Chollet, Google

22   machine-learning researcher and author of the book Deep Learning with Python, “Deep learning takes

23   data points and turns them into a query-able structure that enables retrieval and interpolation

24   between the points. You could think of it as a continuous generalization of database technology.

25   … Because it is analogous to a database, the usefulness of a deep learning system depends entirely

26   on the data points it was constructed with. You get back what you put in (or interpolations of the

27

28


      Case No. 3:23-cv-00201-WHO                         27
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238         Filed 10/31/24      Page 31 of 88



 1   same).”23 (Emphases added.)
 2            118.   With the phrase “continuous generalization of database technology,” Chollet is

 3   contrasting a traditional database, which stores its data in discrete records, with a machine-learning

 4   model, which treats its data as sitting on a continuous geometric surface, called a manifold. The

 5   manifold is a mathematical construct discovered by the model during training and represents the

 6   “information space” of the training data. By representing training data in a continuous rather than

 7   discrete manner, a machine-learning model permits ﬂexible operations of data, such as measuring

 8   the proximity of data points, and as Chollet notes, “retrieval and interpolation” of data points.

 9   Furthermore, because the representations of the training data on the manifold are simpliﬁed

10   compared to their original form, the model essentially uses the manifold to accomplish compression

11   of the training dataset.

12            119.   Though the framing of machine learning as a form of data compression has been

13   resisted by some, research shows an ever-stronger connection between the two, and between

14   diﬀusion models and compression in particular. In November 2023, a team of machine-learning

15   researchers led by Yaodong Yu at UC Berkeley published a paper called “White-Box Transformers

16   via Sparse Rate Reduction: Compression Is All There Is?”24 (Below, the “Yu Paper”.) In their paper,
17   the authors describe in detail a strong mathematical and experimental correspondence between

18   diﬀusion models and data compression, and conclude by saying (italics in original, bold emphasis

19   added):

20                   [W] e hope that this work … help[s] clarify the ultimate capabilities
                     of modern artiﬁcial intelligence (AI) systems … Just as with all other
21                   natural phenomena or technical innovations that were once “black
                     boxes” to people, signiﬁcant confusion and anxiety is arising in
22                   society about the potential or implications of emerging new AI
                     systems, including … large image generation models such as
23                   Midjourney … From the perspective of this work … these large
                     models are unlikely to do anything beyond purely mechanical
24                   data compression (encoding) and interpolation (decoding). That
                     is, this work suggests that for these existing large AI models,
25                   however magical and mysterious they might appear to be:
                     Compression is all there is.
26

27   23
          https://twitter.com/fchollet/status/1563153087514419206
28   24
          https://arxiv.org/abs/2311.13110


      Case No. 3:23-cv-00201-WHO                         28
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238         Filed 10/31/24   Page 32 of 88



 1   See Yu Paper at 53.

 2           120.   In public statements, Stability CEO Emad Mostaque and Stability itself have

 3   repeatedly and consistently characterized Stable Diﬀusion as a compressed copy of its training

 4   images. Some examples are listed below (emphasis added):

 5           121.   In August 2022, Mostaque described Stable Diﬀusion in a recorded interview: “What

 6   happens is you take 250 thousand gigabytes of images and you compress it down to X gigabytes.

 7   We’ll share the details soon. But it’s surprisingly small.”

 8           122.   In August 2022, Mostaque described Stable Diﬀusion in another recorded interview:

 9   “It’s worth taking a step back and thinking about how crazy insane this is: we took a hundred

10   terabytes of data—a hundred thousand thousand megabytes of images—2 billion of them—and we

11   squished it down to a 2–4 gigabyte ﬁle. And that ﬁle can create everything that you’ve seen. That’s

12   insane, right? That’s about as compressed as you can get.”

13           123.   In August 2022, Stability said in its launch announcement for Stable Diﬀusion that it

14   “is the culmination of many hours of collective eﬀort to create a single ﬁle that compresses the

15   visual information of humanity into a few gigabytes.”25
16           124.   In September 2022, Mostaque said in a podcast interview: “Stable Diﬀusion is the

17   model itself. … We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle that

18   can recreate any of those and iterations of those.”26
19           125.   In January 2023, Mostaque said in a podcast interview: “We took 100,000 gigabytes

20   of image-label pairs—2 billion images—and created a 1.6 gigabyte ﬁle … that basically compresses

21   the visual information of a snapshot of the internet.”27
22           126.   In February 2023, Mostaque said in a podcast interview: “We’ve created the most

23   eﬃcient compression in the world.”28
24

25   25
        https://stability.ai/blog/stable-diﬀusion-public-release
26   26
        https://narrativespodcast.com/2022/09/19/112-emad-mostaque-ai-alignment-and-stable-
     diﬀusion/
27   27
        https://www.youtube.com/watch?v=jgTv2W0mUP0
28   28
        https://sarahguo.com/blog/emadmostaque


      Case No. 3:23-cv-00201-WHO                         29
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238         Filed 10/31/24       Page 33 of 88



 1           127.    In May 2023, Mostaque said to a tech journalist that Stable Diﬀusion is “a hundred

 2   thousand gigabytes of images compressed to a two-gigabyte ﬁle.”29
 3           128.    Though the estimated quantity of training images and size of the model has varied in

 4   these statements by Mostaque and Stability, the core message has been consistent: Stable Diﬀusion

 5   is a “compressed” version of its training images that can be used to “recreate any of those [images]

 6   and iterations of those.”

 7           129.    The subject of whether diﬀusion models store copies of protected expression from

 8   their training images is an active area of research in the AI ﬁeld. So far, the answer is: yes, they do,

 9   and as the models get larger, so does their capacity to store such copies (that is, “memorize”).

10           130.    This topic was explored in a January 2023 paper called “Extracting Training Data

11   from Diﬀusion Models” by Nicholas Carlini of Google and others. 30 (Below, the “Carlini Paper”.)
12   Carlini is one of the world’s leading AI researchers. He often studies the security of machine-

13   learning models, in particular issues related to the privacy and security of training data after it has

14   been ingested into the model.

15           131.    According to Carlini, “[t]he appeal of generative diﬀusion models is rooted in their

16   ability to synthesize novel images that are ostensibly unlike anything in the training set.” But Carlini

17   notes that “diﬀusion models are explicitly trained to reconstruct the training set.” See Carlini Paper

18   at 12. Based on further experiments, Carlini concludes “that state-of-the-art diﬀusion models do

19   memorize and regenerate individual training examples.” See Carlini Paper at 1.

20           132.    Carlini’s experiment involved supplying text prompts to Stable Diﬀusion 1.4 to see if

21   the prompts could elicit images essentially identical to those found in the training dataset. In many

22   instances Carlini was able to coax Stable Diﬀusion 1.4 to output copies of its training images. An

23   example from the paper is shown below, comparing certain training images with images output by

24   Stable Diﬀusion. In each case, the image in the “Original” line is a training image; the image directly

25

26
     29
27      https://www.zdnet.com/article/why-open-source-is-essential-to-allaying-ai-fears-according-to-
     stability-ai-founder/
28   30
        https://arxiv.org/abs/2301.13188


      Case No. 3:23-cv-00201-WHO                          30
                                         SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO             Document 238          Filed 10/31/24       Page 34 of 88



 1   below in the “Generated” line is an image output from Stable Diﬀusion. As Carlini notes, the

 2   generated images are nearly identical to the training images:

 3            133.

 4

 5

 6

 7

 8            134.     Based on these tests with Stable Diﬀusion and another diﬀusion model, Carlini
 9   concludes that storage of copies of training images “is pervasive in large diﬀusion models—and that
10   … extraction [of these stored copies] is feasible.” See Carlini Paper at 7. Carlini concludes that
11   “diﬀusion models memorize and regenerate individual training images … and more useful diﬀusion
12   models memorize more than weaker diﬀusion models. This suggests that the vulnerability of
13   generative image models may grow over time.” See Carlini Paper at 15.
14            135.     Carlini also poses a question: “[d]o large-scale models work by generating novel
15   output, or do they just copy and interpolate between individual training examples?” Id. He
16   concludes that “because our attacks [i.e., attempts to elicit stored copies of training images] succeed,
17   this question remains open.” Id. François Chollet has taken an even stronger position, saying that
18   “It’s accurate that generative art models create new content by recombining images from their
19   training data.”31 Yaodong Yu concurs, stating “large image generation models … are unlikely to do
20   anything beyond purely mechanical data compression (encoding) and interpolation (decoding).” See
21   Yu Paper at 53.
22            136.     Carlini notes that a limitation of his experiment is that it relied on a very strict
23   “deﬁnition of ‘memorization’: whether diﬀusion models can be induced to generate” essentially
24   identical copies of certain training images “when prompted with appropriate instructions.” See
25   Carlini Paper at 4. Carlini says later: “[o]ur work highlights the diﬃculty in deﬁning memorization
26

27

28   31
          https://twitter.com/fchollet/status/1600230516934209536


      Case No. 3:23-cv-00201-WHO                             31
                                           SECOND AMENDED COMPLAINT
           Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 35 of 88



 1   … a more comprehensive analysis will be necessary to accurately capture more nuanced deﬁnitions

 2   of memorization that allow for more human-aligned notions of data copying.” See Carlini Paper at

 3   15.

 4            137.    On information and belief, had Carlini adopted a more “human-aligned” standard of

 5   visual correspondence—say, output images that were merely substantially similar to training

 6   images—his experiment would’ve yielded many more successful results.

 7            138.    In May 2023, researcher Ryan Webster extended Carlini’s research in this direction

 8   in a paper called “A Reproducible Extraction of Training Images from Diﬀusion Models.” 32 Webster
 9   found that by using a less strict technique for detecting stored copies of training images, more

10   instances of stored copies could be discovered. Webster tested several diﬀusion models, including

11   Stable Diﬀusion 2.0 and version 4 of the Midjourney Model, and found stored copies of training

12   images within all of them.

13            139.    Carlini’s paper tested Stable Diﬀusion version 1.4, which had fewer than a billion

14   parameters. (A parameter is a single numerical value that a model learns during training, and models

15   with more parameters are considered “larger” than those with fewer.) But in July 2023, Stability

16   released Stable Diﬀusion XL 1.0, which has 3.5 billion parameters. On information and belief, based

17   on Carlini’s theory that larger models are more likely to “memorize and regenerate individual

18   training images,” a model like Stable Diﬀusion XL 1.0 is even more likely to exhibit this behavior

19   than the version 1.4 that Carlini tested.

20            140.    More broadly, over time, AI image products are tending to adopt models with more

21   parameters, and thus, according to Carlini’s theory, these models are only getting better at storing

22   copies of training images and regenerating them in whole or in part.

23            141.    A related topic was explored in a July 2023 paper called “Measuring the Success of

24   Diﬀusion Models at Imitating Human Artists”33 by Stephen Casper of MIT and others. (Below, the
25   “Casper Paper”.)

26

27   32
          https://arxiv.org/abs/2305.08694
28   33
          https://arxiv.org/pdf/2307.04028.pdf.


      Case No. 3:23-cv-00201-WHO                          32
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 36 of 88



 1          142.    Starting with a list of 70 artist names, Casper supplied prompts to Stable Diﬀusion

 2   version 1.5 in the form of “artwork from [name of artist]” to produce output images. Casper then

 3   passed these images into a CLIP model to see whether it could correctly predict the artist being

 4   imitated.

 5          143.    Casper found that the CLIP model “classiﬁed 81.0% of the generated images as works

 6   made by artists whose names were used to generated them … Overall, these results suggest that

 7   Stable Diﬀusion has a broad-ranging ability to imitate the style of individual artists.” See Casper

 8   Paper at 3.

 9          144.    In sum—based on work by leading AI researchers, AI image products are only getting

10   better and better at storing copies of training images and can even produce images indistinguishable

11   from those created by a speciﬁc artist in the training dataset.

12          145.    Carlini’s paper shows that diﬀusion models—and Stable Diﬀusion in particular—

13   have the ability to store copies of protected expression from training images and later regenerate it.

14   Moreover, diﬀusion models have an increasing propensity to do so as they get larger, leading to a

15   stronger inference that these models generate output merely by “copy[ing] and interpolat[ing]

16   between individual training” images. See Carlini Paper at 15.

17          146.    Casper’s paper shows another eﬀect of this propensity to store copies of protected

18   expression from training images: diﬀusion models—and Stable Diﬀusion in particular—are

19   exceptionally good at creating convincing images resembling the work of speciﬁc artists if the artist’s

20   name is provided in the prompt. See Casper Paper at 3.

21          147.    Stable Diﬀusion is held out as an “open-source” program. But in the hands of

22   Runway and Stability, the term “open source” is more of a marketing and competitive gimmick than

23   a substantive virtue, intended mostly to ensure the widest distribution of Stable Diﬀusion, and the

24   economic opportunities that result. David Widder and others strongly criticized this corruption of

25   the traditional meaning of “open source” in an August 2023 paper called “Open (for Business): Big

26

27

28


      Case No. 3:23-cv-00201-WHO                          33
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238         Filed 10/31/24      Page 37 of 88



 1   Tech, Concentrated Power, and the Political Economy of Open AI”34 (emphasis added below):
 2
                     As a rule, ‘open’ refers to systems that oﬀer transparency,
 3                   reusability, and extensibility—they can be scrutinized, reused, and
                     built on. … we also ﬁnd that marketing around openness and
 4                   investment in (somewhat) open AI systems is being leveraged by
                     powerful companies to bolster their positions in the face of growing
 5                   interest in AI regulation. And that some companies have moved to
                     embrace ‘open’ AI as a mechanism to entrench dominance, using the
 6                   rhetoric of ‘open’ AI to expand market power, and investing in
                     ‘open’ AI eﬀorts in ways that allow them to set standards of
 7                   development while beneﬁting from the free labor of open source
                     contributors … Companies like … Stability AI oﬀer open source
 8                   AI models to their customers and the public. Their business
                     models rely not on licensing proprietary models themselves, but
 9                   on charging for extra features and services on top of open
                     models, features such as API access, model training on custom data,
10                   and security and technical support as a paid service to clients …

11   See Widder at 11.

12            148.   If one downloads the Stable Diﬀusion 2.0 model from Stability via GitHub,35 one
13   does not get everything one needs to operate Stable Diﬀusion 2.0, let alone train a comparable

14   model from scratch. Rather, one gets a set of scripts (mostly written in Python) and conﬁguration

15   ﬁles for generating images using a weights ﬁle (not included, some assembly required). A weights ﬁle

16   is a binary ﬁle that encodes all the information that the model captured during training by copying

17   protected expression from training images. An example of a Stable Diﬀusion weights ﬁle is available

18   at https://huggingface.co/stabilityai/stable-diﬀusion-2/blob/main/768-v-ema.ckpt. This is a mass

19   of binary data that is meaningful when accessed via the Stable Diﬀusion scripts, but otherwise not

20   intelligible to humans. In that way, the weights ﬁle has a status similar to that of a videogame

21   cartridge or DVD—it contains protected expression that can be perceived only with the aid of a

22   device (in this case, the accompanying software scripts), which can only be seen when interacted

23   with using the appropriate device, for example, a videogame console or a DVD player. In other

24   words, simply because certain code for a particular model is labeled “open source” does not mean

25   one can meaningfully interrogate the model or experiment with it. All the value of the model is

26

27   34
          https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4543807
28   35
          https://github.com/Stability-AI/stablediﬀusion


      Case No. 3:23-cv-00201-WHO                         34
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 38 of 88



 1   encapsulated in the weights ﬁle, and a weights ﬁle is unintelligible to human beings.

 2          149.    For this reason, the most direct method of interrogating a model is to generate output

 3   images with an AI image product containing that model.

 4          150.    The behaviors of diﬀusion models described in the Carlini Paper and the Casper

 5   Paper can be observed in the output of the AI image products oﬀered by Stability, Runway, and

 6   Midjourney when prompted with Plaintiﬀs’ names and images, as shown in the next sections.

 7      XI. EXAMPLES OF TEXT PROMPTS USING PLAINTIFF NAMES IN AI IMAGE
             PRODUCTS OFFERED BY STABILITY, RUNWAY, AND MIDJOURNEY
 8

 9          151.    What follows are examples from the current versions of image products oﬀered by

10   Stability, Runway, and Midjourney (as of November 2023) showing the results of text prompts

11   invoking the names of certain Plaintiﬀs.

12          152.    As mentioned below, Plaintiﬀs have found at least one instance where a Defendant

13   (Stability) has apparently adjusted the behavior of its AI image product to make prompting with

14   Plaintiﬀs’ names more diﬃcult, possibly in response to ﬁling the initial complaint in this action. At

15   this juncture, it is impossible for Plaintiﬀs to know the full scope of measures that Defendants may

16   have adopted in their AI image products to frustrate Plaintiﬀs’ investigation of the claims in this

17   complaint.

18          153.    On information and belief, each Defendant is able to control the output of their

19   speciﬁc AI image products, including prohibiting the use of certain keywords in prompts. In this

20   way, Defendants can exercise control over the behavior of their AI image products.

21          154.    Stability: Stability makes the current version of Stable Diﬀusion available through an

22   online AI image product called DreamStudio (https://beta.dreamstudio.ai). DreamStudio was used

23   to make the text-prompt examples below. The version of the Stable Diﬀusion model made available

24   in DreamStudio is called Stable Diﬀusion XL 1.0. This version of Stable Diﬀusion was trained on

25   the Plaintiﬀ works in Exhibit A.

26          155.    Plaintiﬀs Sarah Andersen, Kelly McKernan, and Karla Ortiz cannot show samples of

27   DreamStudio images with their names in the text prompts because their names have been blocked

28


      Case No. 3:23-cv-00201-WHO                         35
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24       Page 39 of 88



 1   since the initial complaint in this action was ﬁled. Using one of these three names in DreamStudio

 2   produces the error “Something isn’t quite right with your prompts.” Before Plaintiﬀs Andersen,

 3   McKernan and Ortiz ﬁled their initial complaint, however, their names could be used as prompts to

 4   generate images.

 5           156.   On information and belief, Stability has blocked these names deliberately within its

 6   DreamStudio app as a response to Ms. Andersen, Mx. McKernan, and Ms. Ortiz, that is intended to

 7   thwart investigation of their claims against Stability.

 8           157.   Plaintiﬀ Grzegorz Rutkowski cannot show samples of Stable Diﬀusion images with

 9   his name in prompts. Due to the massive popularity of his name in Stable Diﬀusion prompts—one

10   report estimated Mr. Rutkowski’s name had been invoked “over 400,000 times” 36—Mr. Rutkowski
11   was also removed as a possible prompt.

12           158.   Still, despite Stability’s attempt to inhibit the use of artist names in prompts,

13   demonstrative output can still be elicited. The text-prompt examples for Stable Diﬀusion that appear

14   below rely on the names of three Plaintiﬀs who have not been blocked: Gregory Manchess, Gerald

15   Brom, and Jingna Zhang.

16           159.   Each of these artists has a distinctive artistic style that can be seen in the examples of

17   their work included in Exhibit A:

18                      a. Gregory Manchess is known for his classic oil paintings distinguished by their

19                          handcrafted brushwork, calligraphic style, and realistic themes.

20                      b. Gerald Brom is known for his gritty, dark, fantasy images that combine

21                          classical realism, gothic, and countercultural aesthetics.

22                      c. Jingna Zhang is known for her painting and romantic photography, with

23                          special attention to color, movement, and props. (Many of the subjects of Ms.

24                          Zhang’s photographs happen to be Asian, a fact that is incidental to her work,

25

26
     36
27      See “Greg Rutkowski Was Removed From Stable Diﬀusion, But AI Artists Brought Him Back,”
     https://decrypt.co/150575/greg-rutkowski-removed-from-stable-diﬀusion-but-brought-back-by-ai-
28   artists


      Case No. 3:23-cv-00201-WHO                          36
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 40 of 88



 1                          but aﬀects diﬀusion models in a peculiar way.)

 2          160.    The examples below appear in Exhibit D: Stability text prompts. To reveal the

 3   eﬀect of an artist’s name on a text prompt, each artist’s name is combined with a single word

 4   representing a generic subject. For these examples, the subjects “chef” and “teacher” have been

 5   used. Any diﬀerence between the output for each text prompt must therefore be attributable to the

 6   inﬂuence of the artist’s name on the prompt.

 7          161.    The ﬁrst set of Stability text prompts consists of “chef,” “gregory manchess chef,”

 8   “gerald brom chef,” and “jingna zhang chef.” Exhibit D, pp. 1–4. The initial “chef” prompt shows

 9   what Stable Diﬀusion produces by default, without an artist name in the prompt. The Manchess-

10   inspired chefs are rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil

11   paintings. The Brom-inspired chefs have a gothic and countercultural air, including one serving a

12   shrunken skull, like a typical artwork by Mr. Brom. The Zhang-inspired chefs are Asian and

13   rendered photographically, like many of Ms. Zhang’s images. In each case, the addition of the

14   artist’s name causes the generic term “chef” to be rendered in a manner characteristic of the artist.

15          162.    The next set of Stability text prompts consists of “teacher,” “gregory manchess

16   teacher,” “gerald brom teacher,” and “jingna zhang teacher.” Exhibit D, pp. 5–8. The initial “teacher”

17   prompt shows what Stable Diﬀusion produces by default, without an artist name in the prompt. The

18   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, as

19   frequently found in the artwork of Mr. Manchess. The Brom-inspired teachers are demonic, and

20   feature images of weapons and skulls, like a characteristic artwork by Mr. Brom. The Zhang-inspired

21   teachers are Asian and rendered photographically, like many of Ms. Zhang’s images. As with “chef,”

22   the addition of the artist’s name causes the generic term “teacher” to be rendered in a manner

23   characteristic of the artist. Furthermore, the changes provoked by the insertion of the artist’s name

24   are comparable for both “chef” and “teacher.”

25          163.    Runway: Runway makes a text-to-image generator available via its online AI image

26   product called AI Magic Tools (https://app.runwayml.com/). This online app was used to make the

27   text-prompt examples below. On information and belief, Runway’s AI Magic Tools app uses Stable

28


      Case No. 3:23-cv-00201-WHO                         37
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO                Document 238     Filed 10/31/24     Page 41 of 88



 1   Diﬀusion 1.5, because Runway trained that version of Stable Diﬀusion, and trained it on the Plaintiﬀ

 2   works in Exhibit A.

 3             164.   The examples below appear in Exhibit E: Runway text prompts.

 4             165.   The text-prompt examples for Runway use the same three Plaintiﬀs as before—

 5   Gregory Manchess, Gerald Brom, and Jingna Zhang—and also Kelly McKernan and Sarah

 6   Andersen, who have not been blocked in Runway prompts.

 7             166.   Like the other three artists, Mx. McKernan and Ms. Andersen also have distinctive

 8   styles:

 9                       a. Kelly McKernan is known for their colorful, ﬂowing, Art Nouveau-inspired

10                           images that frequently feature female-presenting subjects and intricate

11                           backgrounds.

12                       b. Sarah Andersen is known for her black & white comic, “Sarah’s Scribbles,”

13                           whose main character is a young woman with dark hair, large eyes, and a

14                           striped shirt.

15             167.   The ﬁrst set of Runway text prompts consists of “chef,” “gregory manchess chef,”

16   “gerald brom chef,” “jingna zhang chef,” “kelly mckernan chef,” and “sarah andersen chef.” Exhibit E,

17   pp. 1–4. The initial “chef” prompt shows what the Runway image product produces by default,

18   without an artist name in the prompt. Much like the Stability results, the Manchess-inspired chefs

19   are rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil paintings. The

20   Brom-inspired chefs have gothic and countercultural air, with skulls hanging in the background of

21   one image, typical of artworks by Mr. Brom. The Zhang-inspired chefs are Asian and rendered

22   photographically, like many of Ms. Zhang’s subjects. The McKernan-inspired chefs feature colorful

23   female-presenting faces with elaborate hair and decorations, commonly found in Mx. McKernan’s

24   work. The Andersen-inspired chefs are all obvious variations on the main character of Ms.

25   Andersen’s celebrated comic “Sarah’s Scribbles,” and two of the images even include the panels

26   common in Ms. Andersen’s work.

27             168.   The next set of Runway text prompts consists of “teacher,” “gregory manchess

28


      Case No. 3:23-cv-00201-WHO                         38
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24     Page 42 of 88



 1   teacher,” “gerald brom teacher,” “jingna zhang teacher,” “kelly mckernan teacher,” and “sarah andersen

 2   teacher.” Exhibit E, pp. 5–8. The initial “teacher” prompt shows what the Runway image product

 3   produces by default, without an artist name in the prompt. Much like the Stability results, the

 4   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, common

 5   in the work of Mr. Manchess. The Brom-inspired teachers are fantastic, otherworldly creatures,

 6   resembling those often found in Mr. Brom’s work. The Zhang-inspired teachers are Asian and

 7   rendered photographically, like many of Ms. Zhang’s subjects. The McKernan-inspired teachers

 8   feature colorful female-presenting faces with elaborate hair and decorations, as often seen in Mx.

 9   McKernan’s work. The Andersen-inspired teachers are all obvious variations on the main character

10   of Ms. Andersen’s comic “Sarah’s Scribbles,” and two of the images even include the panels

11   common in Ms. Andersen’s work.

12          169.    Midjourney: Midjourney makes the current version of its AI image product available

13   through an online discussion service called Discord (https://discord.com). Midjourney’s AI image

14   product is also called “Midjourney.” Thus, for clarity below, the Midjourney AI image product as

15   presented via Discord will be called the Midjourney Image Product. The text-prompt examples

16   below were made using the Midjourney Image Product. Because the Midjourney Image Product

17   incorporates both Stable Diﬀusion as an underlying model as well as a custom model trained by

18   Midjourney, this latter model will be called the Midjourney Model.

19          170.    The version of the Midjourney Model made available in the current Midjourney

20   Image Product is version 5.2. On information and belief, this version of the Midjourney Model was

21   trained on the Plaintiﬀ works in Exhibit A. This is the default model used by the Midjourney Image

22   Product. Midjourney Model 5.2 was used to make the examples below.

23          171.    The examples below appear in Exhibit F: Midjourney text prompts.

24          172.    The text-prompt examples for Midjourney use the same ﬁve Plaintiﬀs as before—

25   Gregory Manchess, Gerald Brom, Jingna Zhang, Kelly McKernan, and Sarah Andersen, who have

26   not been blocked in Midjourney prompts.

27          173.    By default, the Midjourney Model layers onto every output image what it calls the

28


      Case No. 3:23-cv-00201-WHO                        39
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 43 of 88



 1   “Midjourney default aesthetic.” Because this “default aesthetic” is an overbaked visual style

 2   supplied by designers at Midjourney, not the training images, it has been turned oﬀ in the examples

 3   below by appending “--style raw” to each prompt listed, thereby more accurately revealing the style

 4   changes that arise from changing the artist names.

 5          174.    The ﬁrst set of Midjourney text prompts consists of “chef,” “gregory manchess chef,”

 6   “gerald brom chef,” “jingna zhang chef,” “kelly mckernan chef,” and “sarah andersen chef.” Exhibit F,

 7   pp. 1–6. The initial “chef” prompt shows what the Midjourney Model produces by default, without

 8   an artist name in the prompt. Much like the Stability results, the Manchess-inspired chefs are

 9   rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil paintings. The Brom-

10   inspired chefs have gothic and countercultural air, including several fantastic creatures, typical of

11   artwork by Mr. Brom. The Zhang-inspired chefs are Asian and rendered photographically, like many

12   of Ms. Zhang’s works. The McKernan-inspired chefs feature colorful female-presenting faces with

13   elaborate hair and decorations, commonly found in Mx. McKernan’s work. The Andersen-inspired

14   chefs are all obvious variations on the main character of Ms. Andersen’s celebrated comic “Sarah’s

15   Scribbles.”

16          175.    The next set of Midjourney text prompts consists of “teacher,” “gregory manchess

17   teacher,” “gerald brom teacher,” “jingna zhang teacher,” “kelly mckernan teacher,” and “sarah andersen

18   teacher.” Exhibit F, pp. 7–12. The initial “teacher” prompt shows what the Midjourney Model

19   produces by default, without an artist name in the prompt. Much like the Stability results, the

20   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, common

21   in the work of Mr. Manchess. The Brom-inspired teachers are demonic, and feature images of skulls,

22   common motifs in Mr. Brom’s work. The Zhang-inspired teachers are Asian and rendered

23   photographically, like many of Ms. Zhang’s images. The McKernan-inspired teachers feature

24   colorful female-presenting faces with elaborate hair and decorations, as often seen in Mx.

25   McKernan’s work. The Andersen-inspired teachers are all obvious variations on the main character

26   of Ms. Andersen’s comic “Sarah’s Scribbles.”

27          176.    In sum, Stability’s diﬀusion model (Stable Diﬀusion XL 1.0), Runway’s diﬀusion

28


      Case No. 3:23-cv-00201-WHO                          40
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 44 of 88



 1   model (inferred to be Stable Diﬀusion 1.5), and the Midjourney Model version 5.2 demonstrate

 2   behavior similar to that described in the Casper research paper: by adding a certain artist name to a

 3   prompt, one can consistently elicit characteristic elements of that artist’s body of work in the output

 4   images, allowing the creation of unlimited output images that are substantially similar to, and could

 5   be mistaken for those of the original artist. These results are consistent between prompts and

 6   between models. This strongly suggests that the Stable Diﬀusion XL, the Runway Model, and the

 7   Midjourney Model store copies of protected expression after copying and ingesting training images.

 8            XII. EXAMPLES OF IMAGE PROMPTS USING PLAINTIFF IMAGES
                IN AI IMAGE PRODUCTS OFFERED BY STABILITY, RUNWAY, AND
 9                                    MIDJOURNEY

10          177.    What follows are examples from the current versions of AI image products oﬀered by

11   Stability, Runway, and Midjourney (as of November 2023) showing the results of prompting these

12   AI image products with the works of certain Plaintiﬀs that appear in the LAION-5B dataset.

13          178.    These examples demonstrate an even more precise way of prompting an AI image

14   product: through image prompts. As explained above, systems based on CLIP-guided diﬀusion use a

15   CLIP model to convert each text prompt to a numerical descriptor called a CLIP embedding, which

16   in turn guides the diﬀusion process as the image emerges. When AI image products were ﬁrst

17   released, users would provide a text prompt as input, which was converted into a CLIP embedding.

18          179.    But a CLIP model can also produce a CLIP embedding from an image. Thus, an

19   image prompt for an AI image product works the same way as a text prompt, but with an image

20   rather than text as the initial user input that produces the CLIP embedding. The CLIP embedding

21   does not directly represent text or image data.

22          180.    Stability: The ﬁrst set of image-prompt examples were made with a Stability AI

23   image product called Reimagine XL, released in May 2023. Reimagine XL is built atop the Stable

24   Diﬀusion XL model that was also used for the text-prompt examples in the previous section. The

25   diﬀerence is that Reimagine XL accepts image prompts rather than text prompts. As Stability

26

27

28


      Case No. 3:23-cv-00201-WHO                         41
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238         Filed 10/31/24      Page 45 of 88



 1   explains37 (emphasis added below)—
 2
                      The classical text-to-image Stable Diﬀusion XL model is trained to
 3                    be conditioned on text inputs. [Reimagine XL] replaces the original
                      text encoder with an image encoder. So instead of generating images
 4                    based on text input, images are generated from an image. … This
                      approach produces similar-looking images with diﬀerent details and
 5                    compositions. Unlike the image-to-image algorithm, the source
                      image is ﬁrst fully encoded, so the generator does not use a single
 6                    pixel from the original one!

 7            181.    The emphasized text is key: “not … a single pixel” from the input image is being

 8   passed into the model, just a higher-level numerical description of the image in the form of a CLIP

 9   embedding. Stability emphasizes that every image output by Reimagine XL is freshly generated with

10   its own “details and composition” and promises output images that are merely “similar.”

11            182.    Carlini’s research indicated that large diﬀusion models like Stable Diﬀusion XL have

12   a greater propensity for storing copies of protected expression from training images.

13            183.    Exhibit G: Stability image prompts contains examples of prompting Reimagine XL

14   with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These training images were

15   made by plaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski, Hawke Southworth,

16   Jingna Zhang, Karla Ortiz, Kelly McKernan, and Sarah Andersen.

17            184.    On each page of this exhibit, the original training image is positioned in the upper

18   left; the other three images are output images. In every case, the output images are not merely

19   similar to the training image, but substantially similar—in some cases startlingly so. On information

20   and belief, because Stability says “not … a single pixel” from the input image is being passed into

21   Stable Diﬀusion XL (via the Reimagine XL image product), it would not be possible for Stable

22   Diﬀusion XL to produce output images substantially similar to the training images unless it had

23   stored copies of protected expression from those training images, and the CLIP embedding

24   generated from the image prompt was eliciting the output of this copied expression.

25            185.    Runway: The next set of image-prompt examples were made with Runway’s AI

26

27

28   37
          https://clipdrop.co/stable-diﬀusion-reimagine


      Case No. 3:23-cv-00201-WHO                          42
                                         SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238         Filed 10/31/24      Page 46 of 88



 1   Magic Tools using its “Image Variation” feature. On information and belief, based on the output of

 2   this tool, it works in a manner similar to Stability’s Reimagine XL: none of the pixels of the input

 3   image are retained, but rather a CLIP embedding is generated from the input image, which guides

 4   the subsequent diﬀusion process.

 5            186.   Exhibit H: Runway image prompts contains examples of prompting Runway’s

 6   Image Variation tool with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These

 7   training images were made by plaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski,

 8   Hawke Southworth, Jingna Zhang, Karla Ortiz, and Kelly McKernan.

 9            187.   On each page of this Exhibit, the original training image is positioned in the upper

10   left; the other three images are output images. In every case, the output images are not merely

11   similar to the training image, but substantially similar. On information and belief, it would not be

12   possible for the Runway Image Variation tool to produce output images substantially similar to the

13   training images unless it had stored copies of protected expression from those training images, and

14   the CLIP embedding generated from the image prompt was eliciting the output of this copied

15   expression.

16            188.   Midjourney: The next set of image-prompt examples were made with Midjourney

17   using its image-prompting feature. This feature was released by Midjourney one day after the initial

18   complaint in this action was ﬁled. According to Midjourney CEO David Holz, this feature does not

19   copy pixels from the input, but rather “looks at the ‘concepts’ and ‘vibes’ of your images and merges

20   them together into novel interpretations.”38 According to Midjourney’s documentation, using an
21   image as a prompt merely “inﬂuence[s] a Job’s composition, style, and colors.” 39
22            189.   Exhibit I: Midjourney image prompts contains examples of prompting Midjourney

23   with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These training images were

24   made by Plaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski, Hawke Southworth,

25   Jingna Zhang, Karla Ortiz, and Kelly McKernan. Midjourney requires that an image prompt be

26

27   38
          ttps://discord.com/channels/662267976984297473/952771221915840552/1064031587735445546
28   39
          https://docs.midjourney.com/docs/image-prompts


      Case No. 3:23-cv-00201-WHO                         43
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 47 of 88



 1   accompanied by a text prompt, so in these cases, each image prompt was supplemented by the

 2   artist’s name. Each prompt was also supplemented with the command ‘--iw 2’ to ensure that the

 3   image portion of the prompt was treated as the primary part (where “iw” means “image weight”),

 4   thereby maximizing “the ‘concepts’ and ‘vibes’” derived from the image.

 5          190.    On each page of this Exhibit, the original training image is positioned in the upper

 6   left; the other three images are output images. In every case, the output images are not merely

 7   similar to the training image, but substantially similar. On information and belief, since Midjourney

 8   says only “‘concepts’ and ‘vibes’” are being taken from the input image, it would not be possible for

 9   the Midjourney Model to produce output images substantially similar to the training images unless it

10   had stored copies of protected expression from those training images, and the CLIP embedding

11   generated from the image prompt was eliciting the output of this copied expression.

12          191.    In sum, the models oﬀered by Stability, Runway, and Midjourney demonstrate

13   behavior apparently similar to that described in the Carlini paper: by using a suﬃciently precise

14   CLIP embedding as conditioning, one can consistently elicit protected expression from a training

15   image, allowing the creation of unlimited output images that could be mistaken for copies of the

16   training images. These results are consistent between prompts and between models.

17          192.    Taken together, these examples of text prompting and image prompting strongly

18   imply that diﬀusion models like the ones shown above store copies of protected expression from

19   copying and ingesting training images.

20          193.    Further, because the makers of these AI image products allow users and licensees to

21   generate copies based on uploaded images and promote their models’ ability to do so, the

22   proliferation of CLIP models invite further infringement.

23          194.    The models also create visually similar copies based on original work with copyright-

24   management information removed or altered.

25          195.    In this example (Ex. G at p. 2), the original image is in the top-left quadrant. Plaintiﬀ

26   Brom’s CMI in the form of the URL for his personal website is clearly visible. None of the visually

27   similar copies of the original image generated by the Stable Diﬀusion XL model contained the

28


      Case No. 3:23-cv-00201-WHO                         44
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO      Document 238    Filed 10/31/24   Page 48 of 88



 1   original CMI.

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO               45
                                   SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 49 of 88



 1          196.    In this example (Ex. G at p. 13), the original image is in the top left. Plaintiﬀ Zhang’s

 2   CMI in the form of the URL for her personal website is clearly visible in the bottom right corner.

 3   The Stable Diﬀusion model again generated visually similar copies of the work without its CMI.

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                         46
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 50 of 88



 1          197.    In this example (Ex. G at p. 15), the original image is on the left. Plaintiﬀ Ortiz’s

 2   CMI in the form of her signature is visible in the bottom right. The Stable Diﬀusion model

 3   generated visually similar copies, including the one depicted which plainly showed Plaintiﬀ Ortiz’s

 4   CMI altered on the bottom-left corner of the image.

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                         47
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 51 of 88



 1          198.    In this example (Ex. H at p. 2), the original image is on the left. Plaintiﬀ Brom’s CMI

 2   in the form of the URL for his personal website is clearly visible. The Runway model generated

 3   visually similar copies, including the one depicted with Plaintiﬀ Brom’s CMI removed.

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17          199.    In this example (Ex. H at p. 12), the original image is on the left. Plaintiﬀ Zhang’s

18   CMI in the form of the URL for her personal website is clearly visible in the bottom-left of the

19   image. The Runway model generated visually similar copies, including the one depicted to the right,

20   with Plaintiﬀ Zhang’s CMI removed.

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                         48
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 52 of 88



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12          200.    In each of these examples, the copies generated by the AI image product could not

13   have been generated but for copying the original image which included CMI by operation of the

14   processes described herein.

15                           XIII. USER AND LICENSEE ACTIVITY

16          201.    What is described herein is not hypothetical. Individuals have and are using the AI

17   image products to create images that mimic and imitate Plaintiﬀs and Class members’ work. Further,

18   users and licensees, with assistance from Defendants, track and update the speciﬁc artists (including

19   Plaintiﬀs) which the AI image products are able to mimic or imitate.

20          202.    Midjourney Image Product users and licensees maintain a spreadsheet that features

21   community-created images and tracks the speciﬁc artists that the Midjourney Image Product can

22   successfully mimic or imitate. The list includes thousands of artists and tracks user- and licensee-

23   generated works using artist names as prompts for various versions of the Midjourney Model.

24   Plaintiﬀs listed in the Midjourney community-generated spreadsheet include Sarah Andersen,

25   Gerald Brom, Gregory Manchess, Kelly McKernan, and Jingna Zhang.

26          203.    An AI image product user posted onto the internet a purported study representing

27   “[a] collection of images from Midjourney that demonstrate the recognized artist styles and their

28


      Case No. 3:23-cv-00201-WHO                         49
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO           Document 238          Filed 10/31/24       Page 53 of 88



 1   results on Midjourney (v4 model).”40 The purpose of the post was, in the words of the user, to “help
 2   decide the style to invoke when prompting the AI to create your desired images. The user used the

 3   following prompt into Midjourney “Art by <artist name>.” Included in the study were several

 4   Plaintiﬀs including Sarah Andersen, Kelly McKernan and Jingna Zhang.

 5           204.    That same individual later posted an “artist study” wherein the individual used the

 6   prompt “art by<artist>” with a “negative prompt” of “blurry, soft, low quality”; the artist’s name

 7   as the only change in the prompt into Stable Diﬀusion XL.41 As demonstrated by the user, “[t]he
 8   prompt was straight forward ‘art by <artist>’ which would get the SDXL mode [sic] to emulate the

 9   style and creations of that artists [sic].” Included in this artist study were several of the Plaintiﬀs

10   including Sarah Andersen, Gerald Brom, Kelly McKernan, Karla Ortiz and Jingna Zhang.

11           205.    Another example involves users conducting “Artist Style Studies” using “Stable

12   Diﬀusion V1”.42 The user input a series of six prompts: prompt 1-3 included “a portrait of a
13   character in a scenic environment by [artist]” and prompts 4-6 included “a building in a stunning

14   landscape by [artist].” This particular study includes over 1,781 artists to date and includes a form to

15   recommend other artist names to input. Plaintiﬀs who have been included in this study include

16   Plaintiﬀs Andersen, Brom, McKernan, Ortiz, and Zhang.

17           206.    Similar artist studies exist for the Runway Models, including compilations of artists

18   whose names were conﬁrmed to be recognized by Stable Diﬀusion 1.5 and other Runway Models,

19   i.e., artists who the Runway Models were capable of mimicking or imitating.

20           207.    As these example images show, users of AI image products are employing machine-

21   learning models to create output that is indistinguishable from works created by Plaintiﬀs and Class

22   Members. Users are doing so with the intent of emulating the artist’s work without any of the

23   compensation or credit that would typically be required if an individual wants to commission an

24   artist to create artwork.

25

26   40
        https://weirdwonderfulai.art/resources/artist-styles-on-midjourney-v4/
     41
27      https://weirdwonderfulai.art/resources/stable-diﬀusion-xl-sdxl-artist-study/
     42
        https://proximacentaurib.notion.site/e28a4f8d97724f14a784a538b8589e7d?v=42948fd8f45c4d47a
28   0edfc4b78937474


      Case No. 3:23-cv-00201-WHO                           50
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO           Document 238        Filed 10/31/24     Page 54 of 88



 1          208.   This is not done without assistance by Defendants. Defendants each materially assist

 2   by distributing the models themselves. As described herein, Defendants also encourage the use of

 3   speciﬁc artist names—including Plaintiﬀs—as text prompts in order to adduce artwork

 4   indistinguishable from Plaintiﬀs from the AI Image Products.

 5                    XIV. DEFINITIONS FOR THE CAUSES OF ACTION

 6          209.   The term Statutory Copy denotes the deﬁnition of copies in 17 U.S.C. § 101 of the

 7   U.S. Copyright Act: “material objects … in which a work is ﬁxed by any method … and from which

 8   the work can be perceived, reproduced, or otherwise communicated, either directly or with the aid

 9   of a machine or device.”

10          210.   The term Statutory Derivative Work denotes the deﬁnition of derivative work in 17

11   U.S.C. § 101 of the U.S. Copyright Act: “a work based upon one or more preexisting works, such as

12   … [an] abridgment, condensation, or any other form in which a work may be recast, transformed, or

13   adapted.”

14          211.   The term LAION-5B Works denotes the works in Exhibit A, all of which are part of

15   the LAION-5B dataset. Each Plaintiﬀ is the author of one or more of the LAION-5B Works. The

16   Plaintiﬀs hold the exclusive rights to their respective LAION-5B Works under 17 U.S.C. § 106,

17   including the rights to make Statutory Copies, prepare Statutory Derivative Works, and distribute

18   both Statutory Copies and Statutory Derivative Works.

19          212.   The term LAION-5B Registered Works denotes the subset of works in the LAION-

20   5B Works that are covered by registered copyrights.

21          213.   The term LAION-5B Registered Plaintiﬀs denotes the subset of Plaintiﬀs who hold

22   copyrights in these LAION-5B Registered Works that were registered before the ﬁling of the initial

23   complaint in this action, namely Sarah Andersen, Jingna Zhang, Gerald Brom, Gregory Manchess,

24   Julia Kaye, and Adam Ellis.

25                      XV. CAUSES OF ACTION AGAINST STABILITY

26          214.   Between April and November 2022, Stability trained an image model called Stable

27   Diﬀusion 2.0. According to Stability, “The model developers used the following dataset for training

28


      Case No. 3:23-cv-00201-WHO                       51
                                      SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238       Filed 10/31/24     Page 55 of 88



 1   the model: LAION-5B and subsets 5B” (See https://huggingface.co/stabilityai/stable-diﬀusion-

 2   2#training).

 3            215.   Between November 2022 and July 2023, Stability trained an image model called

 4   Stable Diﬀusion XL 1.0. On information and belief, Stable Diﬀusion XL is also trained on LAION-

 5   5B, because Stability has funded LAION and used LAION datasets for all its previous models. AI

 6   chipmaker NVIDIA features Stable Diﬀusion XL as one of its “AI Foundation Models.” On its

 7   information page for Stable Diﬀusion XL, the training dataset is listed as LAION-5B. 43
 8            216.   Because LAION-5B is an openly accessible dataset, Stability knew the LAION-5B

 9   dataset contained copyrighted works, including those of the LAION-5B Registered Plaintiﬀs.

10   Additionally, because the LAION-5B dataset contains detection scores for watermarks and because

11   CMI is ubiquitous in art, Stability also knew that the LAION-5B dataset contained copyrighted

12   works with CMI aﬃxed to them.

13            217.   The LAION-5B Registered Works are included in the LAION-5B dataset. Therefore,

14   Stability used the LAION-5B Registered Works for training. Below, the term Stability Models

15   refers to all models trained by Stability on the LAION-5B Registered Works, including Stable

16   Diﬀusion 2.0 and Stable Diﬀusion XL 1.0.

17            218.   Since the ﬁling of Plaintiﬀs Andersen, McKernan, and Ortiz’s initial complaint,

18   Stability has changed the behavior of the Stability models. Plaintiﬀs Andersen, McKernan and

19   Ortiz’s names can no longer be used as prompts. Plaintiﬀ Rutkowski’s name has similarly been

20   blocked as a prompt. As demonstrated herein, however, each of their names have been used in the

21   past with Stability Models to generate work that mimicked their works.

22

23

24

25

26

27

28   43
          See https://catalog.ngc.nvidia.com/orgs/nvidia/teams/ai-foundation/models/sdxl/overview


      Case No. 3:23-cv-00201-WHO                        52
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238          Filed 10/31/24     Page 56 of 88



 1                                             COUNT ONE

 2                 Direct copyright infringement of the LAION-5B Registered Works
      by training the Stability Models, including Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0
 3
       against Stability on behalf of the LAION-5B Registered Plaintiﬀs and Damages Subclass
 4

 5          219.    The preceding factual allegations are incorporated by reference.

 6          220.    The LAION-5B Registered Plaintiﬀs never authorized Stability to use their

 7   respective LAION-5B Registered Works in any way. Nevertheless, Stability repeatedly violated the

 8   exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs and continues to do

 9   so today.

10          221.    The LAION-5B dataset contains only URLs of training images, not the actual

11   training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-

12   learning model must ﬁrst acquire copies of the actual training images from their URLs using the

13   img2dataset or other similar tool. Consistent with this, in preparation for training the Stability

14   Models, Stability made one or more Statutory Copies of the LAION-5B Registered Works so they

15   could be fed to each Stability Model as training data. The Statutory Copies made of each registered

16   work were substantially similar to that registered work.

17          222.    During the training of each Stability Model, Stability made a series of intermediate

18   Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models are trained by

19   creating “noised” copies of training images, as described herein, all of which qualify as Statutory

20   Copies. The intermediate Statutory Copies of each registered work that Stability made during

21   training of the Stability Models were substantially similar to that registered work.

22          223.    By the end of training, Stable Diﬀusion XL 1.0 was capable of reproducing protected

23   expression from each of the LAION-5B Registered Works that was in each case substantially similar

24   to that registered work, as shown in Exhibit D: Stability text prompts and Exhibit G: Stability

25   image prompts. Therefore, Stable Diﬀusion XL 1.0 qualiﬁes as an infringing Statutory Copy of the

26   LAION-5B Registered Works. Because Stable Diﬀusion XL 1.0 represented a transformation of the

27   LAION-5B Registered Works into an alternative form, Stable Diﬀusion XL 1.0 also qualiﬁes as an

28


      Case No. 3:23-cv-00201-WHO                          53
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238          Filed 10/31/24     Page 57 of 88



 1   infringing Statutory Derivative Work.

 2          224.    Executives and high-level employees of Stability know that one of the most attractive

 3   features of the Stability models is its ability to mimic and copy artists’ works, including Plaintiﬀs. As

 4   such, they routinely advertise the Stability Models’ ability to mimic artwork.

 5          225.    For example, once Stability prohibited the use of Plaintiﬀ Rutkowski’s name as a

 6   prompt, Stability’s employees and executives encouraged the use of similar artist names in lieu of

 7   Plaintiﬀ Rutkowski’s in order to achieve similar results.

 8          226.    For example, Katherine Crowson, a principal researcher at Stability AI tweeted the

 9   following on November 24, 2022:

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                          54
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO          Document 238       Filed 10/31/24     Page 58 of 88



 1          227.   Emad Mostaque, Stability’s CEO retweeted Crowson’s advice:

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16          228.   Stability also maintains a Discord channel where executives routinely oﬀered

17   resources to users including encouragement to use artist names as prompts:

18

19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                      55
                                      SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 59 of 88



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16          229.    On information and belief, the other Stability Models exhibit the same properties,
17   because they were trained on the same LAION-5B dataset.
18          230.    Since November 2022, Stability has distributed Stable Diﬀusion 2.0 to the public, for
19   instance via websites like GitHub (See, e.g., https://github.com/Stability-AI/stablediﬀusion) and
20   Hugging Face (See, e.g., https://huggingface.co/stabilityai/stable-diﬀusion-2). Since July 2023,
21   Stability has distributed Stable Diﬀusion XL 1.0 to the public, for instance via websites like GitHub
22   (See, e.g., https://github.com/Stability-AI/generative-models) and Hugging Face (See, e.g.,
23   https://huggingface.co/stabilityai/stable-diﬀusion-xl-base-1.0). In so doing, Stability infringed the
24   exclusive distribution rights of the LAION-5B Registered Plaintiﬀs.
25          231.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by
26   Stability’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to statutory
27   damages, actual damages, restitution of proﬁts, and other remedies provided by law.
28


      Case No. 3:23-cv-00201-WHO                         56
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24       Page 60 of 88



 1                                              COUNT TWO

 2       Inducement of copyright infringement by distributing Stable Diﬀusion 2.0 and Stable
       Diﬀusion XL 1.0 for free against Stability on behalf of the LAION-5B Registered Plaintiﬀs
 3                                       and Damages Subclass
 4

 5          232.    The preceding factual allegations are incorporated by reference.

 6          233.    Stability distributes Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 under the MIT

 7   License, which allows anyone to download, use, and deploy the Stability Models for free, for

 8   instance, via websites like GitHub (See https://github.com/Stability-AI/stablediﬀusion) and

 9   Hugging Face (See https://huggingface.co/stabilityai/stable-diﬀusion-2).

10          234.    Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 violate the exclusive rights (under 17

11   U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs. Therefore, anyone who in fact downloads,

12   uses, or deploys Stable Diﬀusion 2.0 or Stable Diﬀusion XL 1.0 is engaged in infringing activity.

13          235.    Stability has made a material contribution to this infringing activity by creating Stable

14   Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 and then distributing them for free.

15          236.    Stability intends to cause further infringement with Stable Diﬀusion 2.0 and Stable

16   Diﬀusion XL 1.0. In an interview in September 2022, Stability CEO Emad Mostaque said: “So

17   Stable Diﬀusion is the model itself. It’s a collaboration that we did with a whole bunch of people …

18   We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle that can recreate any

19   of those and iterations of those.” (emphasis added). With this comment, Mostaque explicitly

20   promoted the ability of Stable Diﬀusion to “recreate”—that is, infringe the copyright of—images in

21   its training dataset, including the LAION-5B Registered Works.

22          237.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by

23   Stability’s inducement of copyright infringement. These Plaintiﬀs are entitled to statutory damages,

24   actual damages, restitution of proﬁts, and other remedies provided by law.

25

26

27

28


      Case No. 3:23-cv-00201-WHO                         57
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238        Filed 10/31/24     Page 61 of 88



 1                                             COUNT THREE

 2                 DMCA violations by removing and altering CMI of training images
           against Stability on behalf of all Plaintiﬀs, the Damages and the Injunctive Classes
 3

 4          238.    The preceding factual allegations are incorporated by reference.
 5          239.    The LAION-5B Plaintiﬀs included one or more forms of CMI (as deﬁned in Section
 6   1202(c) of the DMCA) in each of their respective works in the LAION-5B Works, including
 7   captions, and distinctive marks such as URLs to personal websites, signatures, and watermarks.
 8          240.    Stability did not contact Plaintiﬀs and the Class to obtain authority to remove or alter
 9   CMI from their works within the meaning of the DMCA.
10          241.    Stability knew the LAION-5B dataset contained CMI. The LAION-5B dataset
11   includes a detection score for watermarks which indicates the likelihood of a particular image in the
12   dataset contains a watermark or other distinctive mark signaling the presence of CMI. Stability
13   therefore could have trained the Stability Models on images free of CMI, but instead chose not to
14   because images with CMI tend to be high-quality.
15          242.    Stability had access to but were not licensed by Plaintiﬀs or the Class to incorporate
16   their works in the Stability Models.
17          243.    Stability had access to but were not licensed by Plaintiﬀs or the Class to create copies
18   based on their works into the Stability Models.
19          244.    Stability had access to but were not licensed by Plaintiﬀs or the Class to distribute
20   their works as Stability does through the Stability Models.
21          245.    Without the authority of the Plaintiﬀs, Stability directly copied the LAION-5B Works
22   and used these Statutory Copies as training data for the Stability Models. The works copied by
23   Stability included CMI, including in the form of distinctive marks such as watermarks or signatures,
24   and as the captions in the image-text pairs. The training process is designed to remove or alter CMI
25   from the training images. Therefore, Stability intentionally removed or altered CMI from the
26   Plaintiﬀs’ works in violation of 17 U.S.C. § 1202(b)(1).
27          246.    Stability also knew that the distribution of works without CMI would lead to further
28


      Case No. 3:23-cv-00201-WHO                         58
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 62 of 88



 1   infringement. Stability encourages the use of artist names as prompts, i.e., encourages the Stability

 2   Models’ users and licensees to infringe on an artists’ work. Because the Stability Models do not

 3   preserve CMI, users and licensees also create infringing works without CMI which can reasonably

 4   lead to further infringement.

 5          247.    Without the authority of the LAION-5B Plaintiﬀs, Stability directly copied the

 6   LAION-5B Works and used these Statutory Copies as training data for the Stability Models. The

 7   training process is designed to remove or alter CMI from the training images. As demonstrated

 8   herein, the Stability Models generate copies based on original images with the CMI removed and/or

 9   altered as output. Therefore, Stability intentionally removed or altered CMI from the LAION-5B

10   Works in violation of 17 U.S.C. § 1202(b)(1).

11          248.    Stability distributes the Stability Models under the MIT License (See, e.g. —

12   https://github.com/Stability-AI/stablediﬀusion/blob/main/LICENSE). Within this license,

13   Stability asserts copyright in the Stability Models. By asserting copyright in the Stability Models,

14   which infringe the copyrights of the LAION-5B Plaintiﬀs, Stability is providing and distributing false

15   CMI in violation of 17 U.S.C. § 1202(a).

16          249.    Stability knew or had reasonable grounds to know that this removal of the LAION-5B

17   Plaintiﬀs’ CMI would facilitate copyright infringement by concealing the facts that a) the Stability

18   Models are infringing Statutory Copies of the LAION-5B Works, and b) the Stability Models are

19   infringing Statutory Derivative Works based on the LAION-5B Works.

20          250.    The LAION-5B Plaintiﬀs have been injured by Stability’s removal or alteration of

21   CMI. The LAION-5B Plaintiﬀs have been injured by Stability’s falsiﬁcation of CMI by claiming

22   false copyright in the Stability Models. These Plaintiﬀs are entitled to statutory damages, actual

23   damages, restitution of proﬁts, and other remedies provided by law.

24                   XVI. CAUSES OF ACTION AGAINST MIDJOURNEY

25          251.    Midjourney promotes the Midjourney Image Product, which is accessed and run

26   through Discord. Midjourney maintains its own Discord server from which users can access the

27   Midjourney image generator. Midjourney’s Discord server also allows Midjourney executives and

28


      Case No. 3:23-cv-00201-WHO                         59
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 63 of 88



 1   other high-level employees to provide promotional communications to users and licensees of the

 2   Midjourney Image Product.

 3           252.    In February 2022, near the release of the initial version of the Midjourney Image

 4   Product, Midjourney CEO David Holz posted messages on the Midjourney Discord server

 5   promoting the Midjourney Image Product’s ability to emulate existing artistic styles, in particular

 6   the styles of certain artists.

 7           253.    Over a series of Discord messages, Holz said “i think you’re all gonna get [your]

 8   mind blown by this style feature … we were very liberal in building out the dictionary … it has cores

 9   and punks and artist names … as much as we could dump in there … i should be clear it’s not just

10   genres its also artist names … it’s mostly artist names … 4000 artist names.” 44
11           254.    Holz then said, “here is our style list”45 and posted a link to a spreadsheet on Google
12   Docs called “Midjourney Style List.”46 One of the tabs on the spreadsheet was called “Artists” and
13   listed over 4,700 artist names. In other words, Holz published a list of artists who the Midjourney

14   Image Product recognizes with the express purpose of these names being used by users and licensees

15   of the Midjourney Image Product as terms in prompts. Holz’s comment, and the list, have remained

16   available ever since.

17           255.    Below, this list is called the Midjourney Name List. A copy of this list appears in

18   Exhibit J: Midjourney Name List.

19           256.    Plaintiﬀs Grzegorz Rutkowski, Sarah Andersen, Karla Ortiz, Gerald Brom, and Julia

20   Kaye appear in the Midjourney Name List. Below, this subset of Plaintiﬀs will be referred to as the

21   Midjourney Named Plaintiﬀs.

22

23
     44
        Combining
24
     https://discord.com/channels/662267976984297473/938713143759216720/941972360171520001,
25   https://discord.com/channels/662267976984297473/938713143759216720/941972890520272906,
     and
26   https://discord.com/channels/662267976984297473/938713143759216720/941976464704802836
     45
27      https://discord.com/channels/662267976984297473/938713143759216720/941987328828768256
     46
        https://docs.google.com/spreadsheets/d/1MEglfejpqgVcaf-I-
28   cgZ5ngV_MlaOTeGXAoBPJO69FM/edit#gid=1096178862


      Case No. 3:23-cv-00201-WHO                         60
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238       Filed 10/31/24     Page 64 of 88



 1           257.    Midjourney also tracked the most popular artists used as prompts. At one point, the

 2   Midjourney Bot maintained a count on Midjourney as recently as April 2023.

 3           258.    In the months before February 2022, Midjourney trained version 1 of the Midjourney

 4   Model. In February 2022, on Midjourney’s Discord server Midjourney CEO David Holz described

 5   Midjourney’s training data: “we have some private data partners as well as some open ones like

 6   laion.”47 In May 2022, Stability CEO Mostaque said “MidJourney is using a LAION 400m based
 7   model … I just support MJ like many other labs/researchers in my nice way.” 48 In July 2022, a
 8   Midjourney-aﬃliated Discord moderator named Soar also conﬁrmed that Midjourney was “using a

 9   modiﬁed version of the LAION 400m dataset.”49 In other words, Midjourney trained its image
10   generation product on at least the LAION-400M dataset.

11           259.    The term LAION-400M Works denotes the works in Exhibit B (Plaintiﬀ images in

12   LAION-400M), all of which are part of the LAION-400M dataset.

13           260.    The term LAION-400M Plaintiﬀs denotes the subset of Plaintiﬀs who are the

14   authors of works included in the LAION-400M Works. The LAION-400M Plaintiﬀs hold the

15   exclusive rights to their respective LAION-400M Works under 17 U.S.C. § 106, including the rights

16   to make Statutory Copies, prepare Statutory Derivative Works, and distribute both Statutory Copies

17   and Statutory Derivative Works.

18           261.    The term LAION-400M Registered Works denotes the subset of works in the

19   LAION-400M Works that are covered by registered copyrights.

20           262.    The term LAION-400M Registered Plaintiﬀs denotes the subset of Plaintiﬀs who

21   hold registered copyrights in these LAION-400M Registered Works, namely Sarah Andersen and

22   Jingna Zhang.

23           263.    Because LAION-400M is an openly accessible dataset, Midjourney knew that the

24   LAION-400M dataset contained copyrighted works, including those of the LAION-400M

25

26
     47
        https://discord.com/channels/662267976984297473/938713143759216720/943315577018126408
27   48
        https://discord.com/channels/823813159592001537/912729332311556136/975894553225752626
28   49
        https://discord.com/channels/662267976984297473/959962985655320616/1001938136445751387


      Case No. 3:23-cv-00201-WHO                        61
                                       SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO         Document 238        Filed 10/31/24      Page 65 of 88



 1   Registered Plaintiﬀs. Further, because LAION also includes detection scores for watermarks for

 2   other datasets, and because of the ubiquity of artists aﬃxing CMI to their works, Midjourney knew

 3   that the LAION-400M dataset contained works with CMI aﬃxed on them.

 4           264.   The LAION-400M Registered Works are included in the LAION-400M dataset.

 5   Therefore, Midjourney used the LAION-400M Registered Works for training. Below, the term

 6   Midjourney 400M Models refers to all models trained by Midjourney on the LAION-400M

 7   Registered Works, including version 1 of the Midjourney Model.

 8           265.   Since October 2022, Midjourney has also incorporated a version of Stable Diﬀusion

 9   into the Midjourney Image Product, which is accessible to users by adding the command ‘--test’ or ‘-

10   -testp’ to a text prompt. According to Midjourney’s moderator Molang, “–test and –testp is a little

11   bit of SD [Stable Diﬀusion] mixed with a lot of Midjourney tweaks and magic.” 50
12           266.   Sometime after July 2022 and before March 2023, Midjourney adopted LAION-5B

13   as its training dataset. In July 2022, a Midjourney-aﬃliated Discord moderator named Danger

14   Awesome said that “the updated LAION 5B dataset”51 formed the basis for “the upcoming
15   [Midjourney] dataset update.” In March 2023, a Midjourney-aﬃliated Discord Moderator named

16   Sunshineyday said that “MJ is trained on a subset of Laion5b.” 52
17           267.   Version 5 of the Midjourney Model was released in March 2023. On information and

18   belief, version 5 of the Midjourney Model and subsequent versions were trained on LAION-5B.

19           268.   Because LAION-5B is an openly accessible dataset, Midjourney knew that the

20   LAION-5B dataset contained copyrighted works, including those of the LAION-5B Registered

21   Plaintiﬀs. Because LAION-5B also includes detection scores for watermarks, Midjourney knew that

22   the LAION-5B dataset contained works with CMI aﬃxed to them.

23

24
     50
25
     https://discord.com/channels/662267976984297473/958069758211797092/1038899058636501132
26   51

27   https://discord.com/channels/662267976984297473/992207085146222713/998451098534817883
     52

28   https://discord.com/channels/662267976984297473/992207085146222713/1082089794521268314


      Case No. 3:23-cv-00201-WHO                        62
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238      Filed 10/31/24      Page 66 of 88



 1          269.    The LAION-5B Registered Works are included in the LAION-5B dataset. Therefore,

 2   Midjourney used the LAION-5B Registered Works for training. Below, the term Midjourney 5B

 3   Models refers to all models trained by Midjourney on the LAION-5B Registered Works, including

 4   version 5 of the Midjourney Model and the current version 5.2 of the Midjourney Model.

 5          270.    Midjourney also publishes the Midjourney Magazine, which is analog only and is

 6   unavailable in digital form. Those who wish to subscribe to the Midjourney Magazine need to

 7   subscribe for a monthly fee. Each issue of the Midjourney Magazine features a selection of output

 8   generated by the Midjourney Model and along with the prompts that created them. Each image is

 9   selected by Midjourney for inclusion in the Midjourney Magazine. Numerous exemplar prompts

10   feature the use of artist names as a keyword, including those of Plaintiﬀs Brom and Rutkowski.

11                                              COUNT FOUR

12       Direct copyright infringement of the LAION-400M Registered Works by training the
        Midjourney 400M Models, including Midjourney Model version 1 against Midjourney on
13
               behalf of the LAION-400M Registered Plaintiﬀs and Damages Subclass
14

15          271.     The preceding factual allegations are incorporated by reference.

16          272.    The LAION-400M Registered Plaintiﬀs never authorized Midjourney to use their

17   respective LAION-400M Registered Works in any way. Nevertheless, Midjourney repeatedly

18   violated the exclusive rights (under 17 U.S.C. § 106) of the LAION-400M Registered Plaintiﬀs and

19   continues to do so today.

20          273.    The LAION-400M dataset contains only URLs of training images, not the actual

21   training images. Therefore, anyone who wishes to use LAION-400M for training their own

22   machine-learning model must ﬁrst acquire copies of the actual training images from their URLs.

23   Consistent with this, in preparation for training the Midjourney 400M Models, Midjourney made

24   one or more Statutory Copies of the LAION-400M Registered Works so they could be fed to each

25   Midjourney 400M Model as training data. The Statutory Copies made of each registered work were

26   substantially similar to that registered work.

27          274.    During the training of each Midjourney 400M Model, Midjourney made a series of

28


      Case No. 3:23-cv-00201-WHO                        63
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 67 of 88



 1   intermediate Statutory Copies of the LAION-400M Registered Works. For instance, diﬀusion

 2   models are trained by creating “noised” copies of training images, as described herein, all of which

 3   qualify as Statutory Copies. The intermediate Statutory Copies of each registered work that

 4   Midjourney made during training of the Midjourney 400M Models were substantially similar to that

 5   registered work.

 6          275.    The LAION-400M Registered Plaintiﬀs have been and continue to be injured by

 7   Midjourney’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to

 8   statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

 9                                              COUNT FIVE

10                Direct copyright infringement of the LAION-5B Registered Works
           by training the Midjourney 5B Models, including Midjourney Model version 5.2
11
      against Midjourney on behalf of the LAION-5B Registered Plaintiﬀs and Damages Subclass
12

13          276.    The preceding factual allegations are incorporated by reference.

14          277.    The LAION-5B Registered Plaintiﬀs never authorized Stability to use their

15   respective LAION-5B Registered Works in any way. Nevertheless, Stability repeatedly violated the

16   exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs and continues to do

17   so today.

18          278.    The LAION-5B dataset contains only URLs of training images, not the actual

19   training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-

20   learning model must ﬁrst acquire copies of the actual training images from their URLs by using the

21   img2dataset tool or another similar tool. Consistent with this, in preparation for training the

22   Midjourney 5B Models, Midjourney made one or more Statutory Copies of the LAION-5B

23   Registered Works so they could be fed to each Midjourney 5B Model as training data. The Statutory

24   Copies made of each registered work were substantially similar to that registered work.

25          279.    During the training of Midjourney Model version 5.2 and the other Midjourney 5B

26   Models, Midjourney made a series of intermediate Statutory Copies of the LAION-5B Registered

27   Works. For instance, diﬀusion models are trained by creating “noised” copies of training images, as

28


      Case No. 3:23-cv-00201-WHO                         64
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238      Filed 10/31/24      Page 68 of 88



 1   described herein, all of which qualify as Statutory Copies. The intermediate Statutory Copies of

 2   each registered work that Midjourney made during training of the Midjourney 5B Models were

 3   substantially similar to that registered work.

 4          280.    By the end of training, Midjourney Model version 5.2 was capable of reproducing

 5   protected expression from each of the LAION-5B Registered Works that was in each case

 6   substantially similar to that registered work, as shown in Exhibit F: Midjourney text prompts and

 7   Exhibit I: Midjourney image prompts. Therefore, Midjourney Model version 5.2 qualiﬁes as an

 8   infringing Statutory Copy of the LAION-5B Registered Works. Because Midjourney Model version

 9   5.2 represents a transformation of the LAION-5B Registered Works into an alternative form,

10   Midjourney Model version 5.2 also qualiﬁes as an infringing Statutory Derivative Work.

11          281.    On information and belief, the other Midjourney 5B Models exhibit the same

12   properties, because they were trained on the same LAION-5B dataset.

13          282.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by

14   Midjourney’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to

15   statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

16                                                COUNT SIX

17                 DMCA violations by removing and altering CMI of training images
             against Midjourney on behalf of All Plaintiﬀs, the Damages and Injunctive Class
18

19          283.    The preceding factual allegations are incorporated by reference.

20          284.    The LAION-400M Plaintiﬀs included one or more forms of CMI (as deﬁned in

21   Section 1202(c) of the DMCA) in each of their respective works in the LAION-400M Works,

22   including captions, and distinctive marks such as URLs to personal websites, signatures, and

23   watermarks.

24          285.    The LAION-5B Plaintiﬀs included one or more forms of copyright-management

25   information (as deﬁned in Section 1202(c) of the DMCA) in each of their respective works in the

26   LAION-5B Works, including captions, URLs, signatures, and watermarks.

27          286.    Midjourney did not contact Plaintiﬀs and the Class to obtain authority to remove or

28


      Case No. 3:23-cv-00201-WHO                        65
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 69 of 88



 1   alter CMI from their works within the meaning of the DMCA.

 2          287.     Midjourney knew the LAION-5B dataset contained CMI. The LAION-5B dataset

 3   includes a detection score for watermarks which indicates the likelihood of a particular image in the

 4   dataset contains a watermark or other distinctive mark signaling the presence of CMI. Midjourney

 5   therefore could have trained the Midjourney Model on images free of CMI but chose not to because

 6   images with CMI tend to be high-quality.

 7          288.     Midjourney also knew the LAION-400M dataset contained CMI. Given that CMI is

 8   ubiquitous and the LAION-400M dataset contained copyrighted works, it is certain that many works

 9   within the dataset contained CMI.

10          289.     Midjourney had access to but were not licensed by Plaintiﬀs or the Class to

11   incorporate their works in Midjourney Image Product.

12          290.     Midjourney had access to but were not licensed by Plaintiﬀs or the Class to create

13   copies based on their works into the Midjourney Image Product.

14          291.     Midjourney had access to but were not licensed by Plaintiﬀs or the Class to distribute

15   their works as Midjourney does through the Midjourney Image Product.

16          292.     Without the authority of the Plaintiﬀs, Midjourney directly copied the LAION-5B

17   Works and used these Statutory Copies as training data for the Midjourney Image Product. The

18   works copied by Midjourney included CMI, including in the form of distinctive marks such as

19   watermarks or signatures, and as the captions in the image-text pairs. The training process is

20   designed to remove or alter CMI from the training images. Therefore, Midjourney intentionally

21   removed or altered CMI from the Plaintiﬀs’ works in violation of 17 U.S.C. § 1202(b)(1).

22          293.     Without the authority of the Plaintiﬀs, Midjourney copied the LAION-400M and

23   LAION-5B Works and used these copies as training data for the Midjourney Models. The training

24   process is designed to remove or alter CMI from the training images. Therefore, Midjourney

25   intentionally removed or altered CMI from the Plaintiﬀs’ Works in violation of 17 U.S.C.

26   § 1202(b)(1).

27          294.     Midjourney also knew that the distribution of works without CMI would lead to

28


      Case No. 3:23-cv-00201-WHO                         66
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24     Page 70 of 88



 1   further infringement. Midjourney encourages the use of artist names as prompts, i.e., encourages

 2   the Midjourney Image Product’s users and licensees to infringe on an artist’s work. As

 3   demonstrated herein, the Midjourney Model generates copies of original works with their CMI

 4   removed and/or altered. Because the Midjourney Image Product does not preserve CMI, users and

 5   licensees also create infringing works without CMI which can reasonably lead to further

 6   infringement.

 7          295.     The LAION-400M Plaintiﬀs have been injured by Midjourney’s removal or

 8   alteration of CMI. The LAION-400M Plaintiﬀs have also been injured by Midjourney’s falsiﬁcation

 9   of CMI. These Plaintiﬀs are entitled to statutory damages, actual damages, restitution of proﬁts, and

10   other remedies provided by law.

11                                             COUNT SEVEN

12        Lanham Act — false endorsement by unauthorized commercial use of artists’ names
             against Midjourney on behalf of the Midjourney Named Plaintiﬀs and Class
13

14          296.     The preceding factual allegations are incorporated by reference.

15          297.     Midjourney engaged in commercial speech that sought to capitalize upon the

16   Midjourney Named Plaintiﬀs’ popularity, recognition, and appeal among consumers of art products.

17   Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was purely to advertise its image

18   generator. This use does not contribute signiﬁcantly to a matter of public interest. The purpose of

19   publishing over 4,700 names in the Midjourney Name List was to promote and highlight the

20   capabilities of Midjourney’s image generator to emulate and create work that is indistinguishable

21   from that of the artists whose names were published.

22          298.     Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was unauthorized and

23   without their consent.

24          299.     Midjourney’s commercial speech created a likelihood of confusion over whether the

25   Midjourney Named Plaintiﬀs actually endorsed the Midjourney Image Product, and over the

26   aﬃliation, connection, or association that the Midjourney Named Plaintiﬀs might have with

27   Midjourney.

28


      Case No. 3:23-cv-00201-WHO                        67
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238         Filed 10/31/24    Page 71 of 88



 1          300.    Midjourney’s commercial speech and use of the names of the Midjourney Named

 2   Plaintiﬀs have deceived consumers as to their aﬃliation, connection, or association with

 3   Midjourney.

 4          301.    A reasonably prudent consumer in the marketplace for art products likely would be

 5   confused as to whether the Midjourney Named Plaintiﬀs included in the Midjourney Name List

 6   sponsored or approved of Midjourney’s image generator.

 7          302.    The Midjourney Named Plaintiﬀs have a high level of recognition among

 8   Midjourney’s users and consumers. In fact, Midjourney relies on this high level of recognition to

 9   advertise the capabilities of its image product by publishing artists’ names. Midjourney strives to

10   capitalize oﬀ Midjourney Named Plaintiﬀs’ reputation as artists to induce users to use its image

11   generator.

12          303.    The Midjourney Named Plaintiﬀs’ actual names were used by Midjourney.

13          304.    Midjourney marketed its Midjourney Image Product on channels heavily traﬃcked by

14   its users and consumers such as on message boards. A link to the Midjourney Name List was

15   published on Discord by Midjourney CEO David Holz, which is frequented by Midjourney’s users

16   and potential consumers.

17          305.    There is consumer appetite both for the Midjourney Named Plaintiﬀs’ art products

18   as well as potentially cheaper, or even free, imitations of such art.

19          306.    Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was intentional, in

20   order to capitalize on their fame and goodwill as popular artists.

21          307.    If its conduct is left unchecked, Midjourney likely will continue to use artist names to

22   advertise the capabilities of its image generator, which undergoes frequent updates.

23          308.    The Midjourney Named Plaintiﬀs have been, and likely will continue to be, harmed

24   by Midjourney’s misrepresentation of fact in terms of their reputation and goodwill.

25          309.    The Midjourney Named Plaintiﬀs are entitled to statutory damages, actual damages,

26   restitution of proﬁts, and other remedies provided by law.

27

28


      Case No. 3:23-cv-00201-WHO                          68
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238      Filed 10/31/24       Page 72 of 88



 1                                                  COUNT EIGHT

 2   Lanham Act — vicarious trade-dress violation by proﬁting from imitations of protectable trade
          dress against Midjourney on behalf of the Midjourney Named Plaintiﬀs and Class
 3

 4          310.    The preceding factual allegations are incorporated by reference.
 5          311.    The Midjourney Named Plaintiﬀs each sell original art, art reproductions, and art
 6   products, all of which feature respective protectable and distinctive trade dress. This trade dress
 7   consists of a set of recurring visual elements and artistic techniques, the particular combination of
 8   which are distinctive to each of the Midjourney Named Plaintiﬀs, associated with them and their
 9   work, and desirable to customers. For instance—
10                      a. Sarah Andersen is known for work that is simple, cartoony, and often strictly
11                          in black and white. In particular, she is known for “Sarah’s Scribbles,” a
12                          comic featuring a young woman with dark hair, big eyes, and a striped shirt.
13                      b. Karla Ortiz is known for a mixture of classical realism and impressionism,
14                          often delving into fantastical, macabre and surrealist themes, and inspired by
15                          the technical prowess of American Renaissance movements with a strong
16                          inﬂuence of contemporary media.
17                      c. Gerald Brom is known for gritty, dark, fantasy images, painted in traditional
18                          media, combining classical realism, gothic and counterculture aesthetics.
19                      d. Grzegorz Rutkowski is known for lavish fantasy scenes rendered in a classical
20                          painting style.
21                      e. Julia Kaye is known for three-panel black-and-white comics, loosely inked
22                          with a thin ﬁxed-width pen, wherein each individual comic is a micro-vignette
23                          in the artist’s life.
24          312.    Midjourney put the names of the Midjourney Named Plaintiﬀs on the Midjourney
25   Name List because Midjourney makes use of a CLIP model that has been trained on the work of the
26   Midjourney Named Plaintiﬀs. For artists like the Midjourney Named Plaintiﬀs and others on the
27   Midjourney Name List, the CLIP model essentially acts as a trade-dress database.
28


      Case No. 3:23-cv-00201-WHO                         69
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238        Filed 10/31/24       Page 73 of 88



 1          313.    The trade dress of each of the Midjourney Named Plaintiﬀs is inherently distinctive

 2   in look and feel as used in connection with their artwork and art products. On information and belief,

 3   a signiﬁcant portion of consumers readily identify each of the Midjourney Named Plaintiﬀs’ trade

 4   dress with the individual Midjourney Named Plaintiﬀ.

 5          314.    On information and belief, Midjourney ensured that its CLIP model was trained to

 6   successfully and convincingly imitate the trade dress of the Midjourney Named Plaintiﬀs and the

 7   other artists on the Midjourney Name List. In other words, Midjourney ensured its CLIP model

 8   could appropriate the distinctive look and feel of each Midjourney Named Plaintiﬀs’ trade dress.

 9          315.    As a result, the Midjourney Image Product can and frequently does generate images

10   featuring protectable trade dress that are likely to cause confusion in consumers. The Midjourney

11   Named Plaintiﬀs never authorized Midjourney to copy, emulate, or otherwise recreate their trade

12   dress; nor did the Midjourney Named Plaintiﬀs authorize Midjourney to use, in conjunction with

13   the advertisement and sale of its services, images featuring their trade dress.

14          316.    Midjourney acknowledges and, in fact, relies on the inherent distinctiveness of the

15   Midjourney Named Plaintiﬀs’ respective trade dress to market its image generator by advertising

16   that users can generate images in the style of particular artists simply by typing in their name. In this

17   way, users do not have to describe speciﬁc design or artistic elements in the prompt to generate an

18   image in the artist’s style—they merely need to type in that artist’s name. Examples of Midjourney

19   text prompts featuring Sarah Andersen and Gerald Brom are shown in Exhibit F.

20          317.    Midjourney vicariously infringes on the Midjourney Named Plaintiﬀs’ trade-dress

21   rights by encouraging and inducing the users of the Midjourney Image Product to enter artist-name

22   prompts and generate images featuring the Midjourney Named Plaintiﬀs’ protectable trade dress.

23   For example—

24                      a. In its original online documentation oﬀering “tips for text-prompts,”

25                          Midjourney recommended that users should “try invoking unique artists to

26                          get a unique style,” an oﬀered a list that included “Greg Rutkowski,” who is a

27                          one of the Midjourney Named Plaintiﬀs. The documentation also

28


      Case No. 3:23-cv-00201-WHO                          70
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24       Page 74 of 88



 1                          recommended that users should “Combine names for new styles: ‘A temple

 2                          by Greg Rutkowski and Ross Tran.’” (Midjourney deleted these pages from

 3                          its public website two weeks after the initial complaint was ﬁled in this

 4                          action.)

 5                      b. Midjourney currently promotes images made with artist-name prompts in an

 6                          online marketing gallery accessible to subscribers called “Showcase” (at

 7                          https://midjourney.com/showcase). Exhibit K: Midjourney Showcase

 8                          contains examples of images from the Showcase gallery featuring Plaintiﬀ

 9                          names, including two of the Midjourney Named Plaintiﬀs: Sarah Andersen

10                          and Gerald Brom.

11          318.    Midjourney exercises control over the infringing images by including the CLIP model

12   in its image pipeline, and by marketing artist-name prompts as a key feature of its image generator

13   via the Midjourney Name List. Without the CLIP model, Midjourney’s users would not be able to

14   infringe on the Midjourney Named Plaintiﬀs’ trade-dress rights or those of the other artists on the

15   Midjourney Name List.

16          319.    Each of the Midjourney Named Plaintiﬀs’ respective trade dress has no intrinsic

17   functional value. The unique combination of particular artistic elements does not confer any

18   utilitarian advantages on their art products and are purely ornamental and aesthetic. There remains

19   an unlimited number of alternative artistic styles available beyond the trade dress owned by the

20   Midjourney Named Plaintiﬀs.

21          320.    Each of the Midjourney Named Plaintiﬀs’ trade dress possesses secondary meaning

22   because the trade dress of their art products invoke a mental association by a substantial segment of

23   potential consumers between the trade dress and the creator of the art product.

24          321.    Midjourney’s vicarious infringement of the Midjourney Named Plaintiﬀs’ trade-

25   dress rights are committed with actual and constructive knowledge of their trade dress, and with the

26   intent to cause confusion, mistake, or deception.

27          322.    As a direct and proximate cause of Midjourney’s conduct, the Midjourney Named

28


      Case No. 3:23-cv-00201-WHO                         71
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238      Filed 10/31/24      Page 75 of 88



 1   Plaintiﬀs have suﬀered, and will continue to suﬀer, signiﬁcant damage in the form of loss of revenue,

 2   income, proﬁts, and goodwill, which will increase if not enjoined. Midjourney has, and will unfairly,

 3   acquire revenue, income, proﬁts, and goodwill at the expense of the Midjourney Named Plaintiﬀs.

 4           323.    Midjourney’s trade-dress infringement will also continue to cause irreparable harm if

 5   Midjourney is not restrained by this Court from further violation of the rights of the Midjourney

 6   Named Plaintiﬀs. The Midjourney Named Plaintiﬀs have no adequate remedy at law for the harm

 7   being caused by Midjourney, particularly in regard to the loss of their goodwill and market share due

 8   to Midjourney’s infringing conduct. The Midjourney Named Plaintiﬀs are, therefore, entitled to and

 9   seek temporary and permanent injunctive relief.

10           324.    Midjourney has, and continues to, vicariously infringe on the trade-dress rights of the

11   Midjourney Named Plaintiﬀs in violation of section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

12           325.    Midjourney’s past and continuing infringement of the Midjourney Named Plaintiﬀs’

13   trade dress is an exceptional case and was willful and intentional, as evidenced by a) Midjourney’s

14   intentional inclusion of the CLIP model in the design of the Midjourney Image Product and b) its

15   open advertisement of the Midjourney Image Product’s ability to replicate an artist’s trade dress via

16   the Midjourney Name List. Thus, the Midjourney Named Plaintiﬀs are entitled to treble their actual

17   damages and to an award of attorneys’ fees under 15 U.S.C. § 1117(a), and all other available

18   remedies.

19                          XVII. CAUSES OF ACTION AGAINST RUNWAY

20           326.    Between April and October 2022, Runway trained an image model called Stable

21   Diﬀusion 1.5. According to Runway, Stable Diﬀusion 1.5 “was trained on a large-scale dataset

22   [called] LAION-5B” (See https://huggingface.co/runwayml/stable-diﬀusion-v1-5#limitations).

23           327.    Stable Diﬀusion 1.5 is still sought out by many users of AI image products for, among

24   other things, its ability to mimic artists.

25           328.    Because LAION-5B is an openly accessible dataset, Runway knew that the LAION-

26   5B dataset contained copyrighted works, including those of the LAION-5B Registered Plaintiﬀs and

27   Karla Ortiz.

28


      Case No. 3:23-cv-00201-WHO                         72
                                          SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 76 of 88



 1          329.    The LAION-5B Registered Works are included in the LAION-5B dataset. Because

 2   Runway admits to using the LAION-5B dataset for training, it must’ve also used the LAION-5B

 3   Registered Works for training. Below, the term Runway Models refers to all models trained by

 4   Runway on the LAION-5B Registered Works, including Stable Diﬀusion 1.5.

 5                                              COUNT NINE

 6     Direct copyright infringement of the LAION-5B Registered Works by training the Runway
     Models, including Stable Diﬀusion 1.5 against Runway on behalf of the LAION-5B Registered
 7
                       Plaintiﬀs, LAION-5B Subclass, and Karla Ortiz Individually
 8

 9          330.    The preceding factual allegations are incorporated by reference.

10          331.    The LAION-5B Registered Plaintiﬀs and Karla Ortiz never authorized Runway to use

11   their respective LAION-5B Registered Works in any way. Nevertheless, Runway repeatedly violated

12   the exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs and Karla Ortiz

13   and continues to do so today.

14          332.    The LAION-5B dataset contains only URLs of training images, not the actual

15   training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-

16   learning model must ﬁrst acquire copies of the actual training images from their URLs by using the

17   ‘img2dataset’ tool or another similar tool. Consistent with this, in preparation for training the

18   Runway Models, Runway made one or more Statutory Copies of the LAION-5B Registered Works

19   so they could be fed to each Runway Model as training data. The Statutory Copies made of each

20   registered work were substantially similar to that registered work.

21          333.    During the training of each Runway Model, Runway made a series of intermediate

22   Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models are trained by

23   creating “noised” copies of training images, as described herein, all of which qualify as Statutory

24   Copies. The intermediate Statutory Copies of each registered work that Runway made during

25   training of the Runway Models were substantially similar to that registered work.

26          334.    By the end of training, Stable Diﬀusion 1.5 was capable of reproducing protected

27   expression from each of the LAION-5B Registered Works that was in each case substantially similar

28


      Case No. 3:23-cv-00201-WHO                         73
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238       Filed 10/31/24     Page 77 of 88



 1   to that registered work, as shown in Exhibit E: Runway text prompts and Exhibit H: Runway

 2   image prompts. Therefore, Stable Diﬀusion 1.5 qualiﬁes as an infringing Statutory Copy of the

 3   LAION-5B Registered Works. Because Stable Diﬀusion 1.5 represents a transformation of the

 4   LAION-5B Registered Works into an alternative form, Stable Diﬀusion 1.5 also qualiﬁes as an

 5   infringing Statutory Derivative Work.

 6          335.    On information and belief, the other Runway Models exhibit the same properties,

 7   because they were trained on the same LAION-5B dataset.

 8          336.    Since October 2022, Runway has distributed Stable Diﬀusion 1.5 to the public, for

 9   instance via websites like GitHub (See https://github.com/runwayml/stable-diﬀusion) and Hugging

10   Face (See https://huggingface.co/runwayml/stable-diﬀusion-v1-5). In so doing, Runway infringed

11   the exclusive distribution rights of the LAION-5B Registered Plaintiﬀs and Karla Ortiz.

12          337.    The LAION-5B Registered Plaintiﬀs and Karla Ortiz have been and continue to be

13   injured by Runway’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to

14   statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

15                                               COUNT TEN

16          Inducement of copyright infringement by distributing Stable Diﬀusion 1.5 for free
              against Runway on behalf of the LAION-5B Registered Plaintiﬀs and Subclass
17

18          338.    The preceding factual allegations are incorporated by reference.

19          339.    Runway distributes Stable Diﬀusion 1.5 under the “CreativeML Open RAIL-M”

20   license, which allows anyone to download, use, and deploy Stable Diﬀusion 1.5 for free. For

21   instance, via websites like GitHub (See https://github.com/runwayml/stable-diﬀusion) and Hugging

22   Face (See https://huggingface.co/runwayml/stable-diﬀusion-v1-5).

23          340.    Stable Diﬀusion 1.5 violates the exclusive rights (under 17 U.S.C. § 106) of the

24   LAION-5B Registered Plaintiﬀs. Therefore, anyone who in fact downloads, uses, or deploys Stable

25   Diﬀusion 1.5 is engaged in infringing activity.

26          341.    Runway has made a material contribution to this infringing activity by training Stable

27   Diﬀusion 1.5 and then distributing it for free.

28


      Case No. 3:23-cv-00201-WHO                        74
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238        Filed 10/31/24      Page 78 of 88



 1            342.   Runway intends to cause further infringement with Stable Diﬀusion 1.5. In February

 2   2023, Stability CEO Mostaque said that Stable Diﬀusion 1.5 was “the most popular model by far by

 3   [a] for proﬁt company.”53
 4            343.   The LAION-5B Registered Plaintiﬀs have been and continue to be injured by

 5   Runway’s inducement of copyright infringement. These Plaintiﬀs are entitled to statutory damages,

 6   actual damages, restitution of proﬁts, and other remedies provided by law.

 7                                            COUNT ELEVEN

 8                  DMCA violations by removing and altering CMI of training images
               against Runway on behalf of all Plaintiﬀs, the Damages and Injunctive Classes
 9

10            344.   The preceding factual allegations are incorporated by reference.

11            345.   The LAION-5B Plaintiﬀs included one or more forms of copyright-management

12   information (“CMI”) (as deﬁned in Section 1202(c) of the DMCA) in each of their respective works

13   in the LAION-5B Works, including captions in image-text pairs, and distinctive marks such as URLs

14   to personal webpages, signatures, and watermarks.

15            346.   Runway did not contact Plaintiﬀs and the Class to obtain authority to remove or alter

16   CMI from their works within the meaning of the DMCA.

17            347.   Runway knew the LAION-5B dataset contained CMI. The LAION-5B dataset

18   includes a detection score for watermarks which indicates the likelihood of a particular image in the

19   dataset contains a watermark or other distinctive mark signaling the presence of CMI. Runway thus

20   could have trained the Runway Models on images free of CMI but chose not to because images with

21   CMI tend to be high-quality.

22            348.   Runway had access to but were not licensed by Plaintiﬀs or the Class to incorporate

23   their works in the LAION-5B dataset into the Runway Models.

24            349.   Runway had access to but were not licensed by Plaintiﬀs or the Class to create copies

25   based on their works in the LAION-5B dataset into the Runway Models.

26

27

28   53
          https://twitter.com/EMostaque/status/1629514395825983489


      Case No. 3:23-cv-00201-WHO                         75
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO              Document 238      Filed 10/31/24      Page 79 of 88



 1          350.    Runway had access to but were not licensed by Plaintiﬀs or the Class to distribute

 2   their works in the LAION-5B dataset as Runway does through the Runway Models.

 3          351.    Without the authority of the LAION-5B Plaintiﬀs, Runway directly copied the

 4   LAION-5B Works and used these Statutory Copies as training data for the Runway Models. The

 5   works copied by Runway included CMI, including in the form of distinctive marks such as

 6   watermarks or signatures. The training process is designed to remove or alter CMI from the training

 7   images. Therefore, Runway intentionally removed or altered CMI from the LAION-5B Works in

 8   violation of 17 U.S.C. § 1202(b)(1).

 9          352.    Runway distributes Stable Diﬀusion 1.5 subject to the “CreativeML Open RAIL M

10   License” (See, e.g.— https://github.com/runwayml/stable-diﬀusion/blob/main/LICENSE). As

11   alleged above, Stable Diﬀusion 1.5 and the other Runway Models themselves constitute Statutory

12   Copies of the LAION-5B works or Statutory Derivative Works. The license distributed by Runway

13   asserts that copyright in the model belongs to “Robin Rombach and Patrick Esser and contributors.”

14   By asserting that these third parties have copyright in the Stable Diﬀusion 1.5, which infringe the

15   copyrights of the LAION-5B Plaintiﬀs, Runway is providing and distributing false CMI in violation

16   of 17 U.S.C. § 1202(a).

17          353.    As demonstrated herein, the Runway Models generate output that are copies of

18   original images with CMI with the CMI removed and/or altered.

19          354.    Runway knows that the Runway Models are being used by users and/or licenses of

20   the Runway Models to create infringing copies of Plaintiﬀs and Class Members’ works. Indeed, one

21   of the reasons for the Runway Models’ popularity is because of the models’ ability to mimic or

22   imitate artists whose works are in the LAION-5B dataset. Thus, Runway knew or reasonably should

23   have known that the Runway Models removal and alteration of CMI would induce, enable, facilitate,

24   or conceal further infringement.

25          355.    The LAION-5B Plaintiﬀs have been injured by Runway’s removal or alteration of

26   CMI. The LAION-5B Plaintiﬀs have been injured by Runway’s falsiﬁcation of CMI by claiming false

27   copyright in Stable Diﬀusion 1.5. These Plaintiﬀs are entitled to statutory damages, actual damages,

28


      Case No. 3:23-cv-00201-WHO                         76
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238         Filed 10/31/24      Page 80 of 88



 1   restitution of proﬁts, and other remedies provided by law.

 2                 XVIII. CAUSES OF ACTION AGAINST DEVIANTART

 3          356.    Since its founding in 2000, DeviantArt has held itself out as an online community

 4   friendly to artists, colloquially known on the site as “deviants.” A primary activity of artists on

 5   DeviantArt is sharing digital images of their artwork, colloquially called “deviations.” Today,

 6   DeviantArt bills itself as “the world’s largest art community,” hosting millions of such images.

 7          357.    Plaintiﬀs Kelly McKernan, Hawke Southworth, Jingna Zhang, and Grzegorz

 8   Rutkowski are DeviantArt users. Below, they are called the DeviantArt Plaintiﬀs.

 9          358.    On November 9, 2022, DeviantArt released DreamUp, an AI image product.

10   DeviantArt claims that DreamUp “lets you create AI art knowing that creators and their work are

11   treated fairly.” DreamUp is only available to paying customers of DeviantArt. DeviantArt oﬀers paid

12   subscriptions to its members called “Core Plans.” Custom Core Plans typically range in price from

13   $3.95 to $14.95 per month. To use DreamUp, a member must ﬁrst subscribe to a Core Plan. A Core

14   Plan subscriber is allowed to use DreamUp for a certain number of Text Prompts per month. For

15   instance, the $9.95 “Pro” level permits 200 DreamUp Text Prompts per month. Core Plan

16   members can purchase additional Text Prompts by purchasing packages of “points.” DeviantArt

17   charges $1 for 80 points, with a minimum purchase of 400 points for $5.

18          359.    Because DeviantArt holds itself out as an art community, DeviantArt chooses to

19   provide many features that artists may prefer. For example, given the ubiquity of aﬃxing CMI such

20   as distinctive marks onto deviations that are being uploaded on to DeviantArt.

21          360.    DeviantArt is the source of millions of images in the LAION-5B dataset. Users of the

22   LAION-5B dataset have copied these millions of images many times over by downloading them from

23   DeviantArt.

24          361.    On information and belief, DeviantArt was aware that LAION-5B contained

25   references to millions of DeviantArt images, and that Stability downloaded these millions of images

26   from the DeviantArt website as a necessary preliminary step in the training of the Stability Models.

27          362.    Each of the DeviantArt Plaintiﬀs has stored images on DeviantArt that were later

28


      Case No. 3:23-cv-00201-WHO                          77
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO          Document 238         Filed 10/31/24      Page 81 of 88



 1   incorporated into the LAION-5B dataset. These images were therefore copied by Runway and

 2   Stability to train versions of Stable Diﬀusion. Exhibit A contains a sampling—but not an exhaustive

 3   listing—of images created by the DeviantArt Plaintiﬀs that are contained in LAION-5B and were

 4   copied from DeviantArt. They can be identiﬁed through their LAION-5B URL, which comes from

 5   the “wixmp.com” domain. This domain is used by DeviantArt to store member images. (“Wix” in

 6   the domain name refers to the parent company of DeviantArt.)

 7            363.   DreamUp relies on Stable Diﬀusion to produce images. The DreamUp app

 8   incorporates a copy of Stable Diﬀusion. The terms of service for DreamUp do not disclose the

 9   speciﬁc version of Stable Diﬀusion that is incorporated within the app.

10            364.   But the DreamUp terms require users to also accept the terms of the CreativeML

11   Open RAIL-M License linked at https://huggingface.co/spaces/CompVis/stable-diﬀusion-license.

12   Because this URL refers to “CompVis” and the license itself is dated August 22, 2022, DreamUp

13   must be based on Stable Diﬀusion version 1.4, which was trained by CompVis and released on

14   August 22, 2022. Below, the model inside DreamUp will be called the DreamUp–CompVis Model.

15            365.   CompVis is the shorthand name of the Computer Vision and Learning Group at

16   Ludwig Maximilian University in Munich, where the original research underlying Stable Diﬀusion

17   was ﬁrst conducted. According to the GitHub page for Stable Diﬀusion 1.4, “Stable Diﬀusion was

18   made possible thanks to a collaboration with Stability AI and Runway.” 54
19            366.   According to CompVis, Stable Diﬀusion 1.4 “was trained on a large-scale dataset

20   LAION-5B.”55
21            367.   The LAION-5B dataset contains only URLs of training images, not the actual

22   training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-

23   learning model must ﬁrst acquire copies of the actual training images from their URLs by using the

24   ‘img2dataset’ tool or another similar tool. Consistent with this, in preparation for training Stable

25   Diﬀusion 1.4, CompVis made one or more Statutory Copies of the LAION-5B Registered Works so

26

27   54
          See https://github.com/CompVis/stable-diﬀusion
28   55
          See https://huggingface.co/CompVis/stable-diﬀusion-v1-4


      Case No. 3:23-cv-00201-WHO                         78
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238         Filed 10/31/24      Page 82 of 88



 1   they could be fed to Stable Diﬀusion 1.4 as training data. The Statutory Copies made of each

 2   registered work were substantially similar to that registered work.

 3          368.    During the training of Stable Diﬀusion 1.4, CompVis made a series of intermediate

 4   Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models are trained by

 5   creating “noised” copies of training images, as described herein, all of which qualify as Statutory

 6   Copies. The intermediate Statutory Copies of each registered work that CompVis made during

 7   training of Stable Diﬀusion 1.4 were substantially similar to that registered work.

 8          369.    On information and belief, by the end of training, Stable Diﬀusion 1.4 was capable of

 9   reproducing protected expression from each of the LAION-5B Registered Works that was in each

10   case substantially similar to that registered work, because—

11                      a. In the Carlini Paper, Nicholas Carlini tested Stable Diﬀusion 1.4 and found

12                          that it could emit stored copies of its training images;

13                      b. The training procedure for Stable Diﬀusion 1.4 was very similar to that of

14                          Stable Diﬀusion 1.5, which was shown in Exhibit E: Runway text prompts

15                          and Exhibit H: Runway image prompts to be capable of emitting stored

16                          copies of protected expression.

17          370.    Therefore, like Stable Diﬀusion 1.5, Stable Diﬀusion 1.4 also qualiﬁes as an infringing

18   Statutory Copy of the LAION-5B Registered Works. Because Stable Diﬀusion 1.4 represents a

19   transformation of the LAION-5B Registered Works into an alternative form, Stable Diﬀusion 1.4

20   also qualiﬁes as an infringing Statutory Derivative Work.

21          371.    DeviantArt continues to obfuscate the source of DreamUp’s training data. One of the

22   questions in DeviantArt’s frequently asked questions (“FAQ”) section for DreamUp on its website

23   is “Does DreamUp use art submitted on the DeviantArt platform to train the AI models.”

24   DeviantArt responds that:

25                   DreamUp is based on 3rd-party technologies (like Stable Diﬀusion)
                     which train their models based on the open web. DreamUp uses
26                   semantic interpretation of a textual prompt and then translates it to
27                   input for these models.

28


      Case No. 3:23-cv-00201-WHO                         79
                                        SECOND AMENDED COMPLAINT
          Case 3:23-cv-00201-WHO         Document 238        Filed 10/31/24      Page 83 of 88



 1                   DeviantArt does NOT add images from DeviantArt to the training
                     sets of 3rd-party technologies, and DeviantArt does NOT provide
 2                   data to expand distribution of images that 3rd-party technologies
 3                   can generate.

 4                   DeviantArt lets you declare whether or not external AI models and
                     platforms can train based on your deviations. When submitting a
 5                   deviation, you’ll be able to check a box that informs third parties
 6                   whether or not you authorize that submission being included in
                     datasets used to train AI models like AI image generators. 56
 7

 8            372.   DeviantArt’s answer is misleading. As conﬁrmed by the FAQ, while DeviantArt did
 9   not “add” images to the training sets of DreamUp, it made no mention of any images already in the
10   training set for DreamUp’s underlying models. DeviantArt knew that Stable Diﬀusion had already
11   been trained on images scraped from DeviantArt itself. DeviantArt thus misled its community
12   because art from DeviantArt was already in DreamUp because Stable Diﬀusion had already been
13   trained on them.
14            373.   This has been further conﬁrmed by DeviantArt CTO Chris Nell. In November 2022,
15   on the public LAION Discord server, Nell described himself as “one of the people at DeviantArt
16   working on improving acceptance of AI generated/augmented art in the broader online arts
17   community” and added “I think our goals at DA [DeviantArt] are very aligned with LAION’s
18   … and want to collaborate as much as possible.”57 Nell said of DreamUp: “we did not ﬁne tune
19   [meaning, perform additional training on] SD [= Stable Diﬀusion] at all, so there aren’t novel
20   weights to share. [W]e do perform additional guidance at generation time … so it’s not exactly
21   unmodiﬁed SD [= Stable Diﬀusion] output, but that is more akin to prompt tuning.” 58 As conﬁrmed
22   by Nell, DeviantArt was well aware of how Stable Diﬀusion was developed and did not do any ﬁne-
23   tuning of the weights included in the Stable Diﬀusion model DreamUp was based on. In other
24

25
     56
          https://www.deviantartsupport.com/en/dreamup
26   57

27   https://discord.com/channels/823813159592001537/1006139459860975716/1042539656396411004
     58

28   https://discord.com/channels/823813159592001537/1006139459860975716/1042543837425438804


      Case No. 3:23-cv-00201-WHO                        80
                                       SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238        Filed 10/31/24      Page 84 of 88



 1   words, this implies all of the images copied in training Stable Diﬀusion were included in the

 2   DreamUp model.

 3          374.    DeviantArt is also aware that DreamUp can be used by DreamUp’s users and

 4   licensees to create potentially infringing works based on artists’ underlying work. This is evidenced

 5   by another provision of DeviantArt’s DreamUp FAQ which provides:

 6
                    DreamUp is an AI-based image-generation tool used to create art
 7                  using free-form text prompts. Certain art styles can sometimes be
                    achieved by referencing names of real artists such as Thomas
 8                  Kinkade, Picasso, and Gustave Doré in text prompts. Referencing
                    artists when having the AI create your work can give the
 9                  resulting piece a unique “look,” inspired by the style of that
                    particular artist.
10
                    If you refer to an artist in a DreamUp prompt, you must also tag that
11                  artist when submitting the resulting image to DeviantArt. Failure to
                    do so is a violation of our DreamUp Policy and can result in your
12                  deviation’s deletion or an account suspension.

13          375.    Again, DeviantArt’s FAQ misleads by omission. DeviantArt tellingly is only

14   concerned with images posted on DeviantArt itself, even though the infringing art would have been

15   created with DeviantArt’s product. Further, because DeviantArt knew Stable Diﬀusion contained

16   copies of training images (including those scraped from DeviantArt), and thus, so did DreamUp, it

17   knew that there was a real possibility that DreamUp could regenerate images in the training set,

18   requiring it to include a provision in its FAQ addressing the possibility. Furthermore, even with the

19   risk that DreamUp could generate images based on protected images, whenever a user uses

20   DreamUp, it asks users to resubmit their generated outputs to use as image prompts with other text

21   in order to generate more images.

22          376.    DeviantArt’s embrace of generative AI art was seen as a betrayal by its art

23   community.

24          377.    The scope of DeviantArt’s betrayal of its artist community by embracing Stable

25   Diﬀusion was evident in a group audio session held by DeviantArt management on November 11,

26   2022 from approximately 1:00–2:30 pm Paciﬁc Time. DeviantArt scheduled the discussion

27   speciﬁcally to allay the well-founded concerns of DeviantArt members that DeviantArt’s embrace of

28


      Case No. 3:23-cv-00201-WHO                        81
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238         Filed 10/31/24       Page 85 of 88



 1   AI art was a complete repudiation of its longstanding community principles, as well as economically

 2   and legally unfair.

 3            378.   At one point in the audio session, CEO Moti Levy explicitly took ownership of the

 4   decision to bring Stable Diﬀusion (the basis of the DreamUp–CompVis Model) onto DeviantArt via

 5   the DreamUp app: “The reason why we’re using Stable Diﬀusion because it’s the only option for us

 6   to take an open source [software engine] and modify it . . . . The other platforms or the other

 7   companies do not allow it. . . . [A]nd by the way, that was my decision. That’s our decision by me

 8   as the CEO. That's my decision to take Stable Diﬀusion.” (emphasis added.)

 9            379.   Levy also said, “DeviantArt expects all users accessing our service or the DeviantArt

10   site to respect creators’ choices about the acceptable use of their content, including for AI purposes.

11   When a DeviantArt user doesn’t consent to third party use of their content for AI purposes, other

12   users of the service and third parties accessing the DeviantArt site are prohibited from using such

13   content to train an AI system, as input into any previously trained AI system or to make available any

14   derivative copy unless usage of that copy is subject to conditions at least as restrictive as those set

15   out in the DeviantArt terms of service.”

16            380.   Shortly after the end of this audio session, DeviantArt updated its terms of service.

17   DeviantArt added a new paragraph about “Data Scraping & Machine Learning Activities” that

18   explicitly permits this kind of usage under certain circumstances, so that Stable Diﬀusion and future

19   generative AI services can continue to scrape DeviantArt for images. In so doing, DeviantArt has

20   reneged on its promises. It plainly switched its loyalties from its artist members to the AI companies,

21   like Stability, infringing Plaintiﬀs’ and the Class’s intellectual property rights in the work of those

22   members. (According to the Internet Archive, this new data-scraping provision was added to the

23   DeviantArt terms of service on November 11, 2022, sometime between 1:41pm and 4:22pm Paciﬁc

24   Time.)

25            381.   Furthermore, although the new “Data Scraping” provision acknowledges that certain

26   kinds of data scraping will continue to be an “unauthorized use” of the DeviantArt website, that

27   “owners of the works are responsible for policing their own works.” In other words, despite its

28


      Case No. 3:23-cv-00201-WHO                          82
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO             Document 238         Filed 10/31/24      Page 86 of 88



 1   professed interest in using its terms of service to protect artists, DeviantArt is washing its hands of

 2   the matter. Instead of standing up for artists and using its resources to combat illegal AI data

 3   scraping, it is forcing artists to take matters into their own hands.

 4           382.    What is more, while DeviantArt purported to spearhead a system for artists to opt-

 5   out of having their works trained upon, these promises are mostly hollow.

 6           383.    DeviantArt’s proposal for artists to opt out was to utilize a system of HTML tags.

 7   Artists who do not wish to have their content used for AI training can append the “noai” and

 8   “noaimageai” hashtags to the HTML page associated with their art.

 9           384.    This promise is misleading.

10           385.    Even if an artist indicates they do not want their artwork used by aﬃxing the “noai”

11   and “noimageai” directives to their HTML pages, it does not apply retroactively to AI image

12   products that have already been trained on their works, such as all the models at issue in this

13   Complaint.

14           386.    Further, even if an artist appends “noai” or “noimageai” directives, however, that is

15   still not a guarantee that their work will not be used to train AI models. As indicated in DeviantArt’s

16   own TOS, “DeviantArt provides no guarantees that ‘noai’ or ‘noimageai’ directives will be present

17   each time Content is accessed, even if the creator does not consent to use of that Content for

18   Artiﬁcial Intelligence Purposes; and absence of such directives does not imply creator consent has

19   been granted. . . Users acknowledge that by uploading Content to DeviantArt, third parties may

20   scrape or otherwise use their works without permission. DeviantArt provides no guarantees that

21   third parties will not include certain Content in external data sources, or otherwise use a creator's

22   work for Artiﬁcial Intelligence Purposes, even when such directives are present. By prohibiting such

23   conduct, DeviantArt makes no guarantees that it will pursue each unauthorized use of the Service,

24   and the owners of the works are responsible for policing their own works to the extent permitted by

25   law.”

26

27

28


      Case No. 3:23-cv-00201-WHO                           83
                                         SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO            Document 238       Filed 10/31/24      Page 87 of 88



 1                                            COUNT TWELVE

 2   Direct copyright infringement by copying the DreamUp–CompVis Model and incorporating it
          into DreamUp against DeviantArt on behalf of the LAION-5B Registered Plaintiﬀs
 3

 4          387.    The preceding factual allegations are incorporated by reference.
 5          388.    Because Stable Diﬀusion 1.4 is an infringing Statutory Copy of the LAION-5B
 6   Registered Works, the DreamUp–CompVis Model is too.
 7          389.    Because Stable Diﬀusion 1.4 is an infringing Statutory Derivative Work based on the
 8   LAION-5B Registered Works, the DreamUp–CompVis Model is too.
 9          390.    The DreamUp–CompVis Model infringes the exclusive rights (under 17 U.S.C.
10   § 106) of the LAION-5B Registered Plaintiﬀs.
11          391.    Because the DreamUp app contains a copy of DreamUp–CompVis Model, the
12   DreamUp app infringes copyrights owned by the LAION-5B Registered Plaintiﬀs.
13          392.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by
14   DeviantArt’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to statutory
15   damages, actual damages, restitution of proﬁts, and other remedies provided by law.
16                                 XIX. JURY TRIAL DEMANDED
17          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the
18   claims asserted in this Complaint so triable.
19

20

21

22

23

24

25

26

27

28


      Case No. 3:23-cv-00201-WHO                        84
                                        SECOND AMENDED COMPLAINT
        Case 3:23-cv-00201-WHO      Document 238     Filed 10/31/24      Page 88 of 88



 1
     Dated: October 31, 2024                 By:          /s/ Joseph R. Saveri
 2                                                           Joseph R. Saveri

 3                                           Joseph R. Saveri (State Bar No. 130064)
                                             Cadio Zirpoli (State Bar No. 179108)
 4                                           Christopher K.L. Young (State Bar No. 318371)
                                             Elissa A. Buchanan (State Bar No. 249996)
 5                                           David Lerch (State Bar No. 229411)
 6                                           Evan Creutz (State Bar No. 349728)
                                             JOSEPH SAVERI LAW FIRM, LLP
 7                                           601 California Street, Suite 1505
                                             San Francisco, California 94108
 8                                           Telephone:      (415) 500-6800
 9                                           Facsimile:      (415) 395-9940
                                             Email:          jsaveri@saverilawﬁrm.com
10                                                           czirpoli@saverilawﬁrm.com
                                                             cyoung@saverilawﬁrm.com
11                                                           eabuchanan@saverilawﬁrm.com
12                                                           dlerch@saverilawﬁrm.com
                                                             ecreutz@saverilawﬁrm.com
13
                                             Matthew Butterick (State Bar No. 250953)
14                                           1920 Hillhurst Avenue, #406
15                                           Los Angeles, CA 90027
                                             Telephone: (323) 968-2632
16                                           Facsimile:     (415) 395-9940
                                             Email:         mb@buttericklaw.com
17

18                                           Brian D. Clark (pro hac vice)
                                             Laura M. Matson (pro hac vice)
19                                           Arielle S. Wagner (pro hac vice)
                                             Eura Chang (pro hac vice)
20                                           LOCKRIDGE GRINDAL NAUEN P.L.L.P.
21                                           100 Washington Avenue South, Suite 2200
                                             Minneapolis, MN 55401
22                                           Telephone: (612)339-6900
                                             Facsimile: (612)339-0981
23
                                             Email:       bdclark@locklaw.com
24                                                        lmmatson@locklaw.com
                                                          aswagner@locklaw.com
25                                                        echang@locklaw.com
26                                           Counsel for Individual and Representative
27                                           Plaintiﬀs and the Proposed Class

28


      Case No. 3:23-cv-00201-WHO               85
                                   SECOND AMENDED COMPLAINT
